Case 5:21-cv-00056-LGW-BWC Document 124-3 Filed 12/19/23 Page 1 of 136




           Exhibit 3
   Case 5:21-cv-00056-LGW-BWC Document 124-3 Filed 12/19/23 Page 2 of 136
                                                                             21st Floor
                                                                             1251 Avenue of the Americas
                                                                             New York, NY 10020-1104

                                                                             Elizabeth A. McNamara
                                                                             (212) 603-6437 tel
                                                                             (212) 379-5237 fax

                                                                             lizmcnamara@dwt.com




                                        September 19, 2023


VIA ELECTRONIC MAIL

Stacey Evans
sevans@staceyevanslaw.com

Stacey Evans Law
4200 Northside Pkwy, NW
Bldg. One, Suite 200
Atlanta, GA 30327


Re:    Dr. Amin v. NBCU, Case No. 5:21-cv-00056-LGW-BWC
       Defendant’s Rebuttal Expert Witness Reports

Dear Stacey:

       Through this letter, we are providing the relevant information regarding our rebuttal expert
witness report by Dr. Erin T. Carey, M.D.

       In accordance with the Federal Rule of Civil Procedure 26(a)(2)(B)(vi), Dr. Carey’s
compensation is as follows: She receives $500 per hour for non-testifying work. Should she be
required to testify in this matter, she will receive compensation in the amount of $5,000 per day.

        In preparation for her expert report, Dr. Carey has reviewed the medical records for 70 of
Dr. Amin’s patients, which include the 69 patients reviewed by Dr. Eldridge F. Bills and disclosed
in your September 5, 2023 letter, as well as one additional patient (see Exhibit D), and a
spreadsheet created by NBCU counsel providing a brief summary of the patients whose records
Dr. Carey reviewed. That spreadsheet is attached and identifies each patient by first and last initials
and the beginning Bates number of their medical records. See Exhibit C. Dr. Carey also reviewed
the reports of Dr. Lauren F. Hamilton and Dr. Eldridge F. Bills.

       Dr. Carey’s report and curriculum vitae are attached. See Exhibits A and B.

       In addition, relating to the opinion of Dr. Ted Anderson, we are providing his October 26,
2020 testimony to the Closed Briefing for the Senate Democratic Caucus (see Exhibit E) and the
October 21, 2020 Executive Summary of Findings by the Independent Medical Review Team
Regarding the Medical Abuse Allegations at the Irwin County Detention Center (see Exhibit F).
  Case 5:21-cv-00056-LGW-BWC Document 124-3 Filed 12/19/23 Page 3 of 136




Stacey Evans, Esq.
September 19, 2023
Page 2


Through his analysis with the Independent Medical Review Team, Dr. Anderson reviewed the
records of at least 19 women who alleged medical maltreatment during their detention at the Irwin
County Detention Center. See Exhibit G.

       Dr. Anderson provided his expert testimony to the Senate Democratic Caucus and the
Senate Subcommittee on a pro bono basis and is receiving no compensation from NBCU.

                                                   Sincerely,




                                                   Elizabeth A. McNamara



cc:    J. Amble Johnson
       Tiffany N. Watkins
       Scott R. Grubman
       Erik Bierbauer
       Justine Beyda Orsini
       Taylor M. Carter
       Amanda B. Levine
       Leena Charlton
       Cynthia L. Counts
Case 5:21-cv-00056-LGW-BWC Document 124-3 Filed 12/19/23 Page 4 of 136




                          Exhibit A
          Case 5:21-cv-00056-LGW-BWC Document 124-3 Filed 12/19/23 Page 5 of 136


                                                September 19, 2023

                        EXPERT REPORT OF ERIN TEETER CAREY, MD, MSCR

        My name is Dr. Erin Carey. I have been asked to provide an opinion regarding Dr. Amin’s care and
treatment of incarcerated women at the Irwin County Detention Center. As set forth below, based on my
education, training, research, clinical practice of caring for gynecologic patients, it is my opinion that Dr. Amin
had a clear pattern in his medical practice that led with the most aggressive approach, resulting in unnecessary
surgeries. Being surgically aggressive in medicine poses significant medical dangers and risks to patients.
Surgical interventions should always be carefully considered and weighed against potential benefits. From a
review of the medical records, Dr. Amin consistently took the most aggressive approach. Risks of being
surgically aggressive compared to medical management or monitoring include: 1) increased risk of
complications, 2) longer recovery times, 3) reduced quality of life, 4) negative psychological impact, 5) overuse
of resources, 6) ethical concerns and 7) patient dissatisfaction.

To mitigate the dangers of surgical risk, physicians must prioritize evidence-based medicine, engage in shared
decision-making with patients, and carefully consider the potential risks and benefits of each intervention.
Repeated exposure to surgical risk can result in complications. Less invasive, more conservative approaches
often offer similar or better outcomes with a lower risk of complications, injury and hardship to patients;
however the records generally do not indicate alternatives were offered by Dr. Amin. Additionally, Drs. Bills
and Hamilton emphasize that informed consent was followed as documented in the medical records provided.
Informed consent is a process in which a healthcare provider explains the nature, risks, benefits, and alternatives
of a proposed medical or surgical intervention to a patient, ensuring the patient comprehends the information.
The patient then voluntarily and autonomously decides to either accept or decline the treatment, based on their
understanding and free will. Informed consent must be obtained in a patient's primary language to ensure their
full understanding of the medical information and their ability to make an informed decision. A signed consent
form does not necessarily indicate informed consent was provided. I hold the opinions presented in this report to
a reasonable degree of medical and scientific certainty. I reserve the right to supplement this report, if necessary,
and I intend to testify in response to the opinions of Plaintiffs’ experts that fall within my field of expertise.

I. Records Reviewed.
Please review the cover letter for the documents I reviewed.

II. Qualifications.
I am qualified to render an opinion in this case based on my education, training, and experience as a
Gynecologist with specialty and subspecialty training in treating patients with chronic pelvic pain, abnormal
uterine bleeding, fibroids, sexual pain, pelvic floor dysfunction, endometriosis. I am a physician licensed to
practice medicine in North Carolina. I am certified by the American Board of Obstetrics and Gynecology and
am fellowship trained in Minimally Invasive Gynecologic Surgery (MIGS) and Pain Medicine. I am also a
Fellow of the American Congress of Obstetricians and Gynecologists (FACOG). I have been the Director of
Minimally Invasive Gynecologic Surgery (MIGS) at the University of North Carolina-Chapel Hill (UNC) since
2016. I am a tenured Associate Professor of Obstetrics and Gynecology at UNC. I was a faculty member at the
University of Kansas Medical Center from 2013-2016. I have been on the Fellowship of Minimally Invasive
Gynecologic Surgery (FMIGS) General Board between 2018-2020, Chair of the FMIGS Curriculum
Standardization Committee since 2018-2021 and on the Executive FMIGS Board beginning 2021-currently
Vice-President. I am also an active member of the FMIGS Curriculum Visionary Task Force and the FMIGS
Quality Improvement Committee.

As a full-time subspecialty clinician, my practice includes a range of gynecologic surgery and pain disorders.
This includes pelvic diseases such as endometriosis and uterine leiomyoma, as well and genitourinary pain
          Case 5:21-cv-00056-LGW-BWC Document 124-3 Filed 12/19/23 Page 6 of 136

disorders. I routinely care for incarcerated women who desire medical and surgical intervention for treatment of
gynecologic conditions. I have been on the Board of the International Pelvic Pain Society (IPPS) since 2015 and
was elected to the Executive Board of IPPS in 2018-I currently hold the Immediate Past-President position. I am
a reviewer for many peer-reviewed journals including Obstetrics and Gynecology, the Journal of Minimally
Invasive Gynecology and the International Urogynecology Journal. I serve on the Editorial Board of the Journal
of Gynecologic Surgery.

In addition to my clinical practice, I am actively involved in clinical translational research in the field of chronic
pelvic pain, sexual pain, high tone pelvic floor dysfunction, endometriosis, and racial and ethnic disparities in
gynecologic care. I am a co-author on over 60 peer-reviewed publications, many of which concern perioperative
interventions and postoperative outcomes, and am Co-Primary Investigator of a multi-million-dollar NIH R01
grant examining peripheral and central nervous system contributors of vulvar pain. I also serve as a clinical
consultant on several ongoing multi-million-dollar NIH grants and private grants to reduce disparities in
gynecologic care.

In addition to being actively engaged in research and direct clinical care, I am also highly involved in providing
medical education. My teaching activities at the University of North Carolina include didactic and clinical
education of medical students, residents, and fellows, as well as extensive experience in giving lectures and
organizing CME events for national and international medical societies. I have been the fellowship director of
our nationally recognized Minimally Invasive Gynecologic Surgery (MIGS) Fellowship at UNC since 2016.
The OBGYN department has honored my commitment to resident and fellow education by awarding me several
distinguished teaching awards including the Positive Learning Environment Award in 2020 and Excellence in
Clinical Care in 2020 and 2021.

I have lectured locally, nationally, and internationally on many subjects in the field of minimally invasive
surgery and pelvic pain. I have also been a Principal Investigator for several independent as well as industry
sponsored investigational studies in minimally invasive surgery. As such, I am familiar with the standard of care
that applies to the care and treatment rendered in this case. Additional information and details regarding my
background, experience, and qualifications can be found in the attached CV.



III.    Opinions
All of the opinions expressed in this report are to a reasonable degree of medical certainty. In my opinion:

a. Medical chart selection: It is unclear how or why Dr. Bills selected the medical records he reviewed. The
number does not align with the records provided and reviewed. Dr. Amin saw approximately 250 women from
ICDC. Of the patients reviewed, 54 underwent surgical intervention (one patient underwent two D&Cs within 3
months). As an example, Dr. Bill only accounts for 46 D&Cs.

These were two additional patients not reviewed by Dr. Bills include patient M.A. and patient S.N. Patient M.A.
was a 48-year-old G2P2002 female with uterine leiomyoma, and anemia who underwent a ‘D&C scope’ as well
as an ovarian cystectomy for an ovarian cyst. She was transfused two units of blood for her anemia and was not
provided hormonal suppression to increase her hemoglobin. Patient S.N. was a 40-year-old G2P2 who also had
uterine leiomyoma and anemia and underwent ‘D&C scope’. She also received a blood transfusion and was not
provided hormonal suppression to increase her hemoglobin.

b. Routinely interpreting normal physiology as pathology: In the detailed review of the medical records, the
pattern of Dr. Amin interpreting normal physiologic changes with pathology is concerning and results in
unnecessary surgical interventions. He appears to use his interpretation to justify surgically aggressive behavior.
Below are repeated examples of misinterpretation of normal menstrual physiology.
  Case 5:21-cv-00056-LGW-BWC Document 124-3 Filed 12/19/23 Page 7 of 136

1.Endometrial thickness/thickened endometrium
In pre-menopausal women, a normal endometrial thickness can vary throughout the menstrual cycle due
to hormonal changes. However, in the proliferative phase (before ovulation), the endometrial thickness
is typically thin, often measuring less than 5 millimeters (mm). After ovulation, during the secretory
phase, the endometrium thickens in preparation for possible implantation of a fertilized egg. During this
phase, a normal endometrial thickness can range from approximately 7 mm to 16 mm. Additional factors
such as age, hormonal status, and underlying medical conditions can influence endometrial thickness. In
post-menopausal women, the normal thickness of the endometrium on ultrasound is typically much
thinner than in pre-menopausal women. This is because, after menopause, the endometrium tends to
atrophy (shrink) due to the decreased levels of estrogen. A thin endometrial lining is generally
considered normal in post-menopausal women and is often less than or equal to 5 millimeters (mm) in
thickness. Therefore, when assessing endometrial thickness on ultrasound, physicians must consider the
patient's specific clinical context and menstrual cycle phase to determine what is considered within the
normal range. Almost all of Dr. Amin’s patients were pre-menopausal women with normal endometrium,
even when described as ‘thickened.’

2. Ovarian cysts/adnexal masses
Adnexal masses (ie, masses of the ovary, fallopian tube, or surrounding tissues) are commonly
encountered by obstetrician–gynecologists. These are identified incidentally on physical examination or
at the time of pelvic imaging. Less commonly, a mass may present with symptoms of acute or
intermittent pain. Given the high volume of transvaginal/pelvic ultrasounds performed by Dr. Amin, it is
not surprising he identified adnexal masses during his evaluation.

To understand this, one must consider the differential diagnoses of adnexal masses in premenopausal
women. Most of incidental adnexal masses are of gynecologic origin and are benign ovarian or tubal
lesions. Age is the most important independent risk factor for ovarian cancer, with an average age of
diagnosis of 63. Transvaginal ultrasonography is the most used imaging technique- this exam should
measure the size and composition of the mass (cystic, solid, or mixed); laterality; and the presence or
absence of septations, mural nodules, papillary excrescences, or free fluid in the pelvis. Doppler
ultrasonography can be used to evaluate vascular characteristics of pelvic lesions. Serum tumor markers
(i.e. cancer antigen-125, human epididymis protein 4, ß-hCG, L-lactate dehydrogenase, alpha-
fetoprotein, or inhibin) are obtained when a suspicious mass is identified, particularly in postmenopausal
women. Ultrasound findings that should raise a physician’s level of concern for malignancy include cyst
size greater than 10 cm, papillary or solid components, cyst irregularity, presence of ascites, and high
color Doppler flow. Of all the transvaginal ultrasounds reviewed, none identified the above concerning
findings of ovarian malignancy.

This leads to an extremely important point. Of all the adnexal masses Dr. Amin identified on ultrasound,
almost all were simple cysts with benign characteristics: thin, smooth walls; no solid components or
septations. This is an exact description of a follicular ovarian cyst that women Doppler ultrasound
imaging was not performed. These simple cysts are almost always benign in any age group. While an
absolute size cutoff for surgical intervention has not been established, cysts of 10 cm or larger often may
be an indication for surgery1. It is important to also note that simple cysts (even those greater than 10
cm) often will spontaneously regress when examined in 6-12 weeks with repeat ultrasound. Of the
women who had an indication for surgery for ovarian cyst, almost all that were removed were follicular
cysts. Additionally, I did not see any woman return for serial ultrasound to evaluate for cyst resolution.

A follicular ovarian cyst, also known as a simple or functional cyst, is a type of ovarian cyst that forms
when a follicle in the ovary does not rupture or release its mature egg during the menstrual cycle.
Normally, a follicle develops in the ovary each month, and it eventually releases an egg in a process
called ovulation. However, in the case of a follicular cyst, the follicle continues to grow, and a fluid-
filled sac or cyst forms. Follicular ovarian cysts are almost always benign and are one of the most
          Case 5:21-cv-00056-LGW-BWC Document 124-3 Filed 12/19/23 Page 8 of 136

       common types of ovarian cysts. They almost always resolve on their own within a few menstrual
       cycles without the need for surgical or medical treatment. Most women with these cysts do not
       experience symptoms, and the cysts are often discovered incidentally during a routine pelvic
       examination or imaging studies. Women who report chronic pelvic pain only have a gynecologic
       etiology of pain 30% of the time. The remaining 70% of pain is nongynecologic in nature and must be
       systemically evaluated in the ambulatory care setting.

       The American College of Radiology (ACR) Ovarian-Adnexal Reporting and Data System (O-RADS)
       description is routinely used in the evaluation of ovarian cysts.
       a.      Normal ovary (O-RADS 1) – This includes follicles (ie, simple cysts) and corpus lutea ≤3 cm.
       This does not require additional follow up imaging.
       b.      Almost certainly benign (O-RADS 2; risk of malignancy <1 percent) – This includes typical
       hemorrhagic cysts, dermoid cysts, and endometriomas (all <10 cm), and simple paraovarian cysts,
       normal peritoneal inclusion cysts, and normal hydrosalpinges (any size). Repeat transvaginal ultrasound
       is typically recommended in six weeks, allowing for visualization of the mass at a different point in the
       menstrual cycle. Depending on findings it may not be unreasonable to consider an ultrasound in another
       three months.
       c.      Low-risk (O-RADS 3; risk of malignancy 1 to <10 percent)
       d.      Intermediate-risk (O-RADS 4; risk of malignancy 10 to <50 percent)
       e.      High-risk (O-RADS 5; risk of malignancy ≥50 percent)

c. Patterns of aggressive surgical intervention: The combination of multiple surgeries at one time, when
necessary, can reduce anesthesia exposure for patients compared to undergoing these experiences individually.
However, the routine combination of unnecessary and potentially harmful surgeries, such as the ‘D&C,
laparoscopy’, is generally not required. First-line assessment of patients with a presenting symptom of pelvic
pain, abnormal uterine bleeding and ovarian cysts are monitored and evaluated in the office setting with
endometrial biopsy, an appropriate trial of medication, and repeat endovaginal ultrasound in 6 to 12 weeks to
follow up pathology (i.e. ovarian cyst). Inappropriate assessment results in preceding to a surgical intervention
in time frame that does not allow for a medical trial. Risks of surgery and anesthesia cannot be understated.
Risks of pelvic surgery includes bleeding, infection, adhesion/scar tissue, damage to adjacent structures/organs,
the need for a larger incision or additional surgeries as well as the risk of anesthesia itself. Layered on the
baseline risks of all surgery, we will highlight surgery-specific risks throughout the report. In my review of the
records, the vast majority of the patients reviewed were low risk and would qualify for an office endometrial
biopsy to evaluate abnormal uterine bleeding. Nonetheless, Dr. Amin performed a combination of nonobstetrical
D&C and laparoscopy on virtually all of the surgical patients I reviewed. Of all of the patients who underwent
nonobstetrical surgical intervention, only one patient did not undergo a combined D&C and laparoscopy at any
time point (C.Y) and one patient (A.A.) had two D&C procedures in 3 months. The combined intervention of
‘D&C scope’ is rarely necessary in clinical practice.

Shared decision-making refers to a collaborative process between providers and patients in making informed
and personalized treatment decisions. The management of benign gynecologic conditions can be complex and
multifaceted, involving the patient in the decision-making process becomes essential to ensure that the chosen
treatment aligns with the patient's values, preferences, and lifestyle. The process of shared decision-making in
endometriosis typically involves information sharing; taking time to understand the patient's preferences,
values, and individual circumstances; exploring treatment options, including medication, hormonal therapies,
procedures, surgical interventions, or a combination of approaches with option thoroughly discussed, including
risks, benefits and alternatives; review of the potential risks and benefits associated with each treatment option;
and finally the patient must actively participates in the decision-making process. Shared medical decision
making is not well documented in the review of the medical records between Dr. Amin and his vulnerable
patients.
  Case 5:21-cv-00056-LGW-BWC Document 124-3 Filed 12/19/23 Page 9 of 136

1. Dilation and Curettage (D&C) vs office endometrial biopsy
The aim in the diagnosis of abnormal uterine bleeding (AUB) is to identify the bleeding cause, which
can be classified by the PALM-COEIN (Polyp, Adenomyosis, Leiomyoma, Malignancy (and
hyperplasia), Coagulopathy, Ovulatory disorders, Endometrial, Iatrogenic and Not otherwise classified)
classification system2. In a gynecologic setting, the first step is most often to identify structural
abnormalities (PALM causes). Common diagnostic options for the identification of the PALM include
ultrasonography, endometrial sampling, and hysteroscopy. These options alone or in combination are
sufficient for the diagnosis of most women with AUB.

Dilation and Curettage (D&C) and office endometrial biopsy are both medical techniques used to
sample and examine the tissue lining the inside of the uterus (the endometrium). While they have a
similar objective, there are important differences in terms of their invasiveness and purpose. Dr. Amin
routinely performed surgeries instead of procedures for the same indication. The American College of
Obstetricians and Gynecologists Position Statement, ‘Definition of “Procedures” Related to Obstetrics
and Gynecology’ outlines the importance of differentiating procedure from surgery, highlighting that
procedures are ‘associated with lower risk of complications, including infection, bleeding, scarring, and
pain3. The classification of an intervention as a “procedure” should be based on the intervention being
performed, and not based on the location at which the procedure is performed, or the level of anesthesia
or sedation being utilized.’ It goes on to further describe procedure as:
    “A procedure is a short interventional technique that includes the following general categories:

          non-incisional diagnostic or therapeutic intervention through a natural body cavity or orifice
          superficial incisional or excisional diagnostic or therapeutic intervention that does not
           involve repair or significantly alter morphology
          device placement into a natural cavity
          subcutaneous implant
          injections

   All other invasive interventions (including superficial incisional or excisional procedures and
   placement of devices or implants that require repair) are considered ‘surgery’.”

   Dilation and Curettage (D&C): D&C is a more invasive surgery compared to an office endometrial
   biopsy. It is typically performed in an operating room under anesthesia (either local or general) and
   involves a greater degree of pain and complications. During a D&C, the cervix is dilated (widened)
   to allow for the insertion of a curette, a surgical instrument with a spoon-shaped tip. The curette is
   then used to scrape and remove a larger portion of the endometrial tissue, typically for diagnostic
   purposes or to address conditions like abnormal bleeding or to investigate the cause of miscarriage.
   D&C may be performed for diagnostic purposes when there are concerns about abnormal uterine
   bleeding, suspected uterine polyps or fibroids, or other uterine conditions. It can also be used for
   therapeutic purposes to remove incomplete miscarriages and decrease acute bleeding. D&Cs are not
   indicated for the evaluation of chronic pelvic pain. Risks of nonobstetrical D&C include uterine
   perforation, false passage formation, hemorrhage, and vaginal/cervical laceration. Additionally,
   dilation and curettage can also result in intrauterine adhesion formation after the procedure as well as
   Asherman’s syndrome, both associated with infertility.

   Office Endometrial Biopsy: An office endometrial biopsy is considered first line evaluation of the
   endometrium because it is convenient, low-cost and less invasive with a high patient acceptance4. It
   can provide adequate endometrium samples for histopathologic evaluation in most patients and
   because of the high sensitivity and specificity rates, it is the preferred evaluation of endometrium in
   low-risk patients5. It is typically performed in an outpatient setting, such as a gynecologist's office,
   without the need for anesthesia or sedation. It is generally associated with less discomfort and a
Case 5:21-cv-00056-LGW-BWC Document 124-3 Filed 12/19/23 Page 10 of 136

 quicker recovery. During an office endometrial biopsy, a thin, flexible tube is inserted through the
 cervix into the uterus. A small sample of endometrial tissue is gently suctioned or scraped from the
 uterine lining. The procedure is usually completed in a matter of minutes. It is often used to
 investigate the cause of abnormal uterine bleeding, evaluate the endometrium for signs of
 endometrial hyperplasia (abnormal thickening of the uterine lining), check for uterine polyps, or rule
 out endometrial cancer. In short, it is a less invasive way to obtain a tissue sample compared to a
 D&C. The office biopsy is considered a comparable sample to D&C1, particularly in patients who
 are low risk for uterine cancer, as the patients reviewed here. In postmenopausal women with
 abnormal uterine bleeding, a more aggressive sample may be appropriate1.

 2. Endometriosis surgery
 Dr. Amin also fulgurated suspicious areas of endometriosis in many patients who underwent
 diagnostic laparoscopy. Endometriosis is a histologic/pathologic diagnosis. While Dr. Amin
 fulgurated many peritoneal lesions, almost no disease was excised or sent to pathology therefore
 disease cannot be confirmed. The most recent ESHRE guidelines recommend empiric treatment of
 endometriosis with medical therapy rather than aggressive treatment with laparoscopy as first-line
 treatment6.

 3. Endocervical curettage (ECC)
 As a component of the D&C, Dr. Amin appears to also collect an endocervical curettage (ECC) on
 each patient at D&C. ECC is indicated in women with abnormal findings on pap who then undergo
 additional testing, including colposcopy. It is recommended in women with +HPV infection, high
 grade cervical cytology or worse, aged 50 or older, or invisible transformation zone in colposcopy.
 This intervention risk profile is similar to D&C.

 4. Ovarian cystectomy
 In some cases, larger follicular cysts may cause mild abdominal discomfort or pelvic pain. If a cyst
 becomes particularly large or causes persistent symptoms, a healthcare provider may recommend
 monitoring it or, rarely, may suggest medical intervention such as hormonal therapy or surgical
 removal. Risk of ovarian torsion (twisting of the ovary on its blood supply) is a rare risk of an
 ovarian cyst and therefore risk of ovarian torsion should not be the primary indication for removal. A
 2022 meta-analysis of CT features found that adnexal enlargement of 8–12 cm was most associated
 with adnexal torsion1. No patients reviewed who underwent cystectomy had an ovarian cyst over 7
 cm. Of the women who underwent laparoscopy, #36/54 had an ovarian cystectomy and almost all of
 these returned as follicular cysts.

 Dr. Bills justifies the removal of normal, physiologic cysts as appropriate due to the inability to
 follow to resolution. However, this aggressive surgical intervention for normal physiology highlights
 Dr. Amin’s inconsistent practice. In the women who underwent ovarian cystectomy, the records
 indicate many were under his care for at least 4 months, which would have allowed for monitoring
 of cyst resolution rather than surgery for a normal physiologic process. Dr. Amin readily used
 interventions that require follow up, including surgery. While postoperative complication risks are
 highest withing the first 30 days of surgery, they can present up to three months (and abdominal wall
 hernias can present years after surgery). While there did not appear be to significant immediate
 postoperative complications, many patients did not have resolution of their pain or bleeding
 following the intervention. Each surgery Dr. Amin exposed a patient to was associated with a real
 risk of complication. Ovarian cystectomy risks cannot be understated. Ovarian cystectomy, a
 surgical procedure used to remove ovarian cysts while preserving the affected ovary, carries certain
 risks and potential complications. Most importantly, for women who desire future fertility, there is a
 risk of damaging the ovary, resulting in decreased ovarian reserve. Ovarian reserve is defined as a
 woman’s reproductive potential in terms of the number and quality of her remaining oocytes (eggs)5.
 Fertility can be directly compromised by laparoscopic ovarian cystectomy resulting in diminished
Case 5:21-cv-00056-LGW-BWC Document 124-3 Filed 12/19/23 Page 11 of 136

 ovarian reserve (DOR) and risk of ovarian failure (also known as premature ovarian insufficiency or
 premature menopause).

 5. Hysterectomy
 Trialing medical and lower-risk treatments before considering a hysterectomy is essential to
 minimize the potential risks surgery. By exploring less invasive alternatives, patients can often
 alleviate their symptoms, maintain reproductive options, and reduce the risks associated with major
 surgery. This approach promotes patient-centered care, allowing individuals to make informed
 decisions about their treatment while prioritizing their overall well-being. Of the medical records
 reviewed, Dr. Amin scheduled five hysterectomies, though only two were completed. Again, his
 pattern of limited medical trials and aggressive surgical approach is evident in the medical records
 reviewed. I have reviewed each of the five hysterectomy cases below.

    1. R.F.S. is a 27-year-old G3P0030 female who presented to Dr. Amin with history of
    myomectomy and reported uterine pain. Her exam was normal apart from an 18-week size
    fibroid uterus. She was provided a single 30-day supply of Provera 10 mg po 1 tab daily ‘to
    control bleeding’. Dr. Amin recommend D&C and scope at her initial consult visit at which time
    a normal follicular cyst was also removed. She was surgically treated for endometriosis without
    pathologic specimen. The primary pathology, the uterine fibroids, were not treated during this
    surgery. She returned 2/26/2020 for her postop visit. At her postoperative visit, Dr. Amin’s clinic
    documentation reports that partial hysterectomy is recommended and should be scheduled,
    however ‘Pt is unsure about surgery.’ Surgery was cancelled on 3/02/2020 as patient was
    deported per ICDC staff. There is no evidence that the patient was counseled on fertility or
    fertility sparing options. No additional imaging was obtained to further evaluate the uterus for
    ‘malignancy.’ Routinely a pelvic MRI is obtained to evaluate the uterus for any concerning
    lesions including leiomyosarcoma. On MRI, uterine sarcomas often present as a large infiltrating
    myometrial mass of intermediate to high signal intensity on T2-weighted images. Although MR
    imaging usually allows diagnosis of common benign leiomyomas, leiomyomas may occasionally
    be associated with various types of necrosis, degeneration or cellular histologic subtype, which
    can cause increased signal on T2-weighted images. When these features are identified on routine
    MRI, the differentiation between benign and malignant myometrial tumors is difficult if only
    based on signal intensity of nonenhanced and postcontrast MR sequences. Several studies have
    explored the use of diffusion weighted imaging on MRI for distinguishing leiomyomas from
    leiomyosarcomas and other malignancies. The prevalence of leiomyosarcoma has also been
    debated, with the FDA estimating the rates as high as 1/458 women, though more rigorous
    analysis of the literature suggests that the prevalence among women having surgery for presumed
    leiomyomas may range as low as 1/1,960 (0.051%)7 to 2/8,720 (0.023%)8. Neither patient in
    Bojahr et al cohort was less than 45 years old. Uterine sarcoma is associated with increasing age
    and peaks sharply in the menopausal range. While uterine sarcoma ranges widely between age
    groups, the average age of diagnosis is 60 years and the highest risk in patients are aged 70–79
    years old while the lowest risk is in patients less than 30 years old. To a high degree of medical
    certainty, RFS did not have a gynecologic malignancy. A noninvasive imaging study, such
    as MRI, would allow for evaluation of the pelvic mass rather than surgical intervention
    with a ‘D&C scope.’ R.F.S had a recurrent benign fibroid. She was a candidate for a repeat
    uterine-sparing intervention including uterine artery embolization or repeat myomectomy
    if she desired fertility preservation. There is no evidence in the medical records that fertility
    counseling was performed.

    2. Patient B.P. is a 36-year-old G5 P40415 (NSVD x 3, c-section a 1 for twins) was initially
    referred for OBGYN consult for lower abdominal pain 5/14/2019. She presented to Dr. Amin on
    6/06/2019. She reported a history of abnormal pap smears, a pap was obtained. A transvaginal
    pelvic ultrasound 6/06/2019 for ‘heavy periods’ which revealed a slightly enlarged anteverted
Case 5:21-cv-00056-LGW-BWC Document 124-3 Filed 12/19/23 Page 12 of 136

    uterus with small fibroids 1-3cm, small physiologic cysts on the right ovary, normal left ovary,
    no free fluid or other abnormalities. Endometrium was 11 mm, normal for reproductive aged
    based on menstrual cycle. She received an injection of DMPA also on 6/06/19. The pap smear
    returned as HSIL results on 6/12/19. Dr. Amin had a follow up on 6/20/2019 – patient scheduled
    for dilation/curettage, LEEP, diagnostic laparoscopy and right ovarian cystectomy. At the time
    of the laparoscopy 7/12/19 she underwent dilation and curettage, LEEP, and operative
    laparoscopy. A 4 x 4 cm right ovarian cyst was removed, and endometriosis implants were noted
    in the posterior cul-de-sac and ablated. The final pathology of the LEEP returned as Carcinoma
    in situ with positive margins. A follicular cyst was noted and removed. Normal uterus, tubes and
    ovaries noted in the operative photos. She was offered an urgent total abdominal hysterectomy at
    her postoperative visit 7/23/2019. This was scheduled on 8/09/2019, < 4 weeks after her LEEP.
    A review of the operative note from the hysterectomy appeared uncomplicated except for a small
    amount of oozing, treated, and with estimated blood loss < 200 ml. The final pathology of the
    hysterectomy returned on 8/12/19. Dr. Amin was notified that the uterus returned as pT1A2
    microinvasive squamous cell carcinoma of cervix- stromal invasion 4 mm deep with
    horizontal spread < 7mm. Evidence of previous endocervical curetting endometrial curetting
    and cervical conization. When the final pathology returned, he urgently referred the patient to
    gyn oncology (James Burke, MD) the following day and secured an appt with oncology
    11/01/2019. The PET/CT or the re-read of the pathology slides Dr. Burke requested were not
    available for review. Dr. Burke reviewed the case at tumor conference. From his consultation
    note, only when he had the additional information could he give his final recommendations. If
    the patient had negative margins and no lymphovascular space invasion (LVSI), observation
    only. If margins negative, but +LVSI laparoscopic lymph node dissection required.

    There are several concerning features of this case:
    a. LEEP specimen with positive margins requires repeat excisional biopsy. This would allow
    negative margins to be obtained and to ensure she underwent appropriate treatment (surgery or
    radiation).
    b. A repeat excision was not performed and the patient underwent a simple hysterectomy by Dr.
    Amin. B.P. had Stage IA2 cervical cancer, and the preferred treatment is a modified radical
    hysterectomy (class II hysterectomy). A modified radical hysterectomy is different than the
    surgery Dr. Amin performed. It includes removal of the uterus, cervix, upper one-fourth of the
    vagina, and parametria. These are typically performed by a gyn oncologist. A modified radical
    hysterectomy is an effective treatment for patients with low-risk, early-stage cervical cancer with
    a rate of recurrence of 1% for patients with stage IA disease at 12-year follow-up. Patients with
    stage IA1 cervical cancer without lymphovascular space invasion LVSI on the excision (LEEP or
    cone) specimen, management depends on margin status. If the margins negative- no further
    treatment is necessary, though a simple hysterectomy may be an acceptable alternative. B.P. had
    positive margins on her LEEP specimen and therefore it was unacceptable to perform a
    simple hysterectomy.
    c. Dr. Amin performed the hysterectomy < 4 weeks from the LEEP with positive margins. It is
    well known that a significant inflammatory tissue reaction follows cone/LEEP that should impact
    the timing of subsequent surgery. There are two appropriate time windows, either immediately
    after an excisional procedure until the inflammation begins (usually one to two days
    postoperatively), usually based on frozen section or expedited final pathologic evaluation. If a
    hysterectomy is indicated, but cannot be done within 48 hours, it is recommended to wait at least
    six-eight weeks to allow for resolution of parametrial inflammation. The evidence of previous
    endocervical curetting endometrial curetting and cervical conization on final pathology suggests
    that this may be some of the post procedure inflammatory response.

    3. K. C. was a 47-year-old G3P3003 female who underwent a total abdominal hysterectomy on
    6/14/2017. She first presented to Dr. McMahan and reported prolonged menstruation. A
Case 5:21-cv-00056-LGW-BWC Document 124-3 Filed 12/19/23 Page 13 of 136

    transvaginal ultrasound was performed 11/29/16 prior to her initial appointment with Dr. Amin.
    She was then referred to OB/GYN for irregular menses 2/14/2017 and her first appointment was
    scheduled for 2/21/2017. At her initial visit she reported vaginal bleeding x 4 months, vaginal
    pain, abdominal pain and Dr. Amin repeated the ultrasound for dysfunctional uterine bleeding
    and chronic pelvic pain. She reported she had never had a pap smear and his records do not
    indicate a pap smear was performed. Exam performed- breast exam, pelvic-speculum exam. A
    10-week uterus was palpated on bimanual exam. He prescribed Provera (medroxyprogesterone
    acetate)10 mg po daily x 10 days. A formal ultrasound was ordered which revealed a normal
    uterus with a small intramural fibroid. She returned on 3/14/17 for ‘heavy menstrual bleeding,
    eye burning, sinuses, head cold, vaginal pain, abdominal pain, stomach pain, can’t eat, rash on
    body and itching.’ Exam performed, including a repeat pelvic-speculum exam. Impression
    included anemia. Offered a ‘D&C scope’. Hb 11.2. Started on oral iron therapy. She underwent a
    D&C and scope on 4/05/17 for abnormal uterine bleeding. She was ‘treated with hormones
    without a response.’ On 4/27/2019 KC returned for routine postoperative care. She reported
    persistent spotting. She continued to have pain, abnormal bleeding and anemia and a
    hysterectomy was recommended over other options on 5/18/17. A bilateral salpingo-
    oophorectomy was also recommended; there is no evidence of counseling for removal of the
    pelvic organs in the medical record, nor evidence a pap smear despite no history of having a pap
    documented on multiple records. K.C. was a candidate for a minimally invasive route of
    hysterectomy however there is no documentation on counseling for route of hysterectomy and no
    indication for an abdominal hysterectomy. C-section is not an indication for abdominal
    hysterectomy. Vaginal hysterectomy is the preferred approach, but laparoscopic, robotic-assisted
    laparoscopic, or abdominal approaches may be performed9. Recent data reports that compared to
    White women, Black and Hispanic women are less likely to undergo hysterectomy via a
    minimally invasive approach10. Her uterus was under 250 g, coming in at 220g, and amenable to
    delivery via the vagina rather than abdominally or requiring morcellation. Postoperatively, being
    in surgical menopause, Dr. Amin prescribed oral estrogen therapy to prevent menopausal
    symptoms. The action to remove ovaries and then recommend daily hormonal supplementation
    to avoid surgical menopause directly opposes Dr. Bills concerns about Dr. Amin not prescribing
    oral medical therapy within the confines of the prison system due to structural challenges with
    ensuring patients receive daily medication while incarcerated. Without these medications, she
    will experience immediate menopausal symptoms if/when she misses a dose.

    4. W.D. is a 48-year-old G6P6 (NSVD x5, c-section x 1) female who initially presented to Dr.
    Amin on 12/21/2018 for CPP, vaginal pain, anemia. She was unsure of her last pap smear and a
    pap smear was collected. She had a tubal ligation. Breast exam normal. Pelvic-speculum exam
    performed and 10–12-week uterus. CBC, CMP, PAP GC/C ordered. Pap/HPV negative. A pelvic
    ultrasound was performed- one picture, and no report was noted in the medical records. She was
    treated for empirically with flagyl 500 mg po bid x 7 days and cleocin cream nightly for one
    week. On 1/11/19 W.D. returned for follow up and pain 8/10, she reported her pain and bleeding
    were worse. Abdominal, pelvic-speculum exam were performed and a 10–12-week size fibroid
    uterus was noted. A repeat TVUS was performed. Dr. Amin recommended the patient have a
    ‘D&C scope’ for metrorrhagia, menorrhagia and dysmenorrhea. On 1/29/19 W.D. presented for
    her surgery. She signed consent for D&C and laparoscopy ‘to correct abnormalities’. CBC, CMP
    and pregnancy test obtained. The operative findings included a larger uterus than noted on exam
    and ultrasound- ultrasound measured the uterus as small with a total length of 6.3 cm.
    Intraoperatively she sounded to 13 cm. The intraoperative photos are consistent with a normal
    sized uterus as measured by her TVUS. On 3/19/19 W.D. returned for her follow up from
    surgery. At her postop visit, she reported ‘vaginal and stomach pain.’ Pain 10/10. Abdominal
    exam normal, pelvic-speculum exam performed. Diagnosed with menorrhagia, dysmenorrhea.
    Dr. Amin recommended TAH-BSO at this visit. Consent signed for DMPA. W.D. received her
    first DMPA injection 3/19/2019 and returned for her second injection 05/28/2019. A request for
         Case 5:21-cv-00056-LGW-BWC Document 124-3 Filed 12/19/23 Page 14 of 136

               surgery placed by Dr. Amin on 3/20/2019. Date requested by Dr. Amin was 4/11/2019-
               4/13/2019. Despite the request for surgery, this was not scheduled. W.D. returned for follow up
               5/28/2019. She reported no change in her pain or bleeding. On his pelvic exam this time he noted
               a uterus that was significantly larger at 16-week size than her initial exam of 10–12-week size. It
               is unclear of the options he counseled her on, but she was then scheduled for a total abdominal
               hysterectomy and bilateral salpingo-oophorectomy. She received her second DMPA injection at
               this appointment. While W.D. was ultimately scheduled for surgery 6/07/2019, a representative
               from ICDC called to cancel surgery as patient refused the intervention.

               5. C.M. is a 40-year-old G3P3 (NSVD x 3) female who presented to Dr. Amin 10/04/18 for
               lower abdominal pain, heavy periods, known fibroids. Reports age 16 at menarche, menses
               regular lasting 10 days with large clots. Contraception with ParaGard. Pain 8/10. She had a full
               exam, TVUS and labs- TSH, CBC, CMP, UA, CA-125. Last pap 2017. An exam was performed-
               including a pelvic-speculum. Due to ‘concern for malignancy’, he offered her a ‘D&C scope’ and
               DMPA injection for her heavy menstrual bleeding. On 10/18/2018 she underwent a D&C and
               laparoscopy for pelvic mass, menorrhagia, dysmenorrhea, DUB, rule out gyn malignancy. A
               review of the intraoperative photos do not show evidence of adhesive disease or pathologic
               ovarian cysts- both ovaries appear normal. No cyst on the left ovary. At her two-week postop
               visit on 11/02/2018 C.M. was then scheduled for a total abdominal hysterectomy/BSO for
               chronic pelvic pain, uterine leiomyoma, dysmenorrhea, menorrhagia on 11/27/18. C.M. was
               deported the day she was scheduled for hysterectomy.

       In conclusion, only 2/5 planned hysterectomies were completed, both including removal of ovaries in
       premenopausal women. Of the 3/5 that were not completed, 1 patient cancelled surgery and 2 patients
       were deported. 5/5 planned hysterectomies were preceded by a ‘D&C scope’ before an adequate trial of
       medical therapy. Nearly all recommendations for proceeding with definitive surgery (hysterectomy) was
       done at the postoperative visit from the ‘D&C scope.,’ which does not allow for full healing from the
       first surgery or an appropriate time to evaluate for symptom improvement from the intervention before
       recommending a second surgical intervention. Dr. Amin’s highly procedural/surgical approach is evident
       in reviewing the hysterectomy and potential hysterectomy cases. Appropriate trials of medical therapy
       were not offered before two separate surgical interventions (D&/scope and hysterectomy) were
       recommended to each patient. It is not routine practice to perform ‘D&C scope’ as an immediate
       precursor to a hysterectomy.

d. Medical management practices
Dr. Bills describes the importance of Dr. Amin’s aggressive treatment as indicated due to the limited ability to
follow up with incarcerated patients. This is directly inconsistent with his practice. Dr. Amin routinely and
excessively used Depo-Provera for contraception and management of abnormal bleeding. In the review of the
patient records, 39 received at least one DMPA injection. Of these, at least 12 patients received more than one
injection. The majority did not undergo more than 3-month trial of medical therapy with this medication before
urgently moving onto surgical intervention. Most important to highlight, this method of treatment, compared to
all other available methods, requires quarterly monitoring/follow up. This medication is the definition of short-
term follow up, as it only lasts three months.

       1. Medroxyprogesterone acetate (DMPA)
       Depo-Provera, also known as medroxyprogesterone acetate (DMPA) inhibits the production of
       gonadotropin, preventing follicular maturation and ovulation, which is responsible for its ability to
       prevent pregnancy. This action also thins the endometrium. DMPA reduces nuclear estrogen receptors
       and DNA synthesis in epithelial cells of the endometrium. The major side effect of DMPA is complete
       disruption of the menstrual cycle. In the 3 months after the first injection, about 30% of women are
       amenorrheic (no period). Endometrial biopsies taken at intervals of 1.5, 3, 6, 9, and 12 months after the
       first DMPA injection in a group of women receiving DMPA every 3 months showed about half the
  Case 5:21-cv-00056-LGW-BWC Document 124-3 Filed 12/19/23 Page 15 of 136

endometrial samples were still active at 6 weeks post first injection. This means that it takes several
months, specifically at least two DMPA injections, for the biopsies to quiet the endometrium. After the
second injection, <10% of the biopsies were proliferative and after 1 year of DMPA, about 40% are
described as atrophic. By the end of 2 years, about 70% of women treated with DMPA are amenorrheic.
After discontinuation of DMPA, about half resume regular cycles within 6 months and three-fourths
have regular menses within 1 year. Because of the time it takes to metabolize DMPA resumption of
ovulation may be delayed for as long as 18 months after the last injection. The delay in return to fertility
is not related to the number of injections but increases with increasing weight, most likely because the
drug is absorbed into adipose tissue and is not rapidly cleared. This can directly affect fertility after
receiving a single DMPA injection.

2. Long-acting reversible contraception (LARC)
One argument Dr. Bills identifies as a reason to use this medication was the challenges of patients
receiving daily oral medical therapy during incarceration. If Dr. Amin’s goal was to offer women long-
term treatments for contraception and abnormal uterine bleeding with minimal side effects and limited
follow up, he would routinely offer long-acting reversible contraception (LARC) as a component of his
practice. LARC is long-lasting and easily reversible birth control that includes contraceptive implants
and intrauterine devices (IUDs), which are more than 99% effective in preventing unintended
pregnancy11.

In a review of all medical records, he did not offer a LARC to a single patient who would have
qualified. These have significantly fewer side effects and require less follow up than DMPA
injections. Additionally, once removed, patients immediately resume baseline fertility.

ACOG’s Patient-Centered Contraceptive Counseling, Committee Statement highlights the conclusions:
“Obstetrician–gynecologists (ob-gyns) should intentionally incorporate the reproductive justice
framework into contraceptive counseling by:
 acknowledging historical and ongoing reproductive mistreatment of people of color and other
   marginalized individuals whose reproductive desires have been devalued;
 recognizing that counselor bias, unconscious or otherwise, can affect care and working to minimize
   the effect of bias on counseling and care provision; and
 prioritizing patients' values, preferences, and lived experiences in the selection or discontinuation of
   a contraceptive method.

Ob-gyns should adhere to the recommended ethical approach of shared decision making through
patient-centered contraceptive counseling.”1

3. Oral progestin therapy
Dr. Amin routinely describes ‘trial of hormone therapy’ as the short-term use of Provera
(medroxyprogesterone acetate) 10 mg orally for 10 days. A 10-day course of Provera can help regulate
the menstrual cycle and reduce abnormal bleeding patterns short-term. In cases of secondary amenorrhea
(the absence of menstruation in women who previously had regular periods), a 10-day course of Provera
may be prescribed to induce withdrawal bleeding. This can help determine if the amenorrhea is due to a
hormonal imbalance. A single 10-day course of Provera does not constitute a ‘trial of hormone
therapy’ for the chronic management and regulation of abnormal uterine bleeding prior to
hysterectomy. Only a handful of patients received 3-6 months of progestin therapy would constitute a
‘trial of hormone therapy’ as an accepted definition in clinical practice.

4. High frequency of transvaginal ultrasound
Dr. Amin readily used transvaginal ultrasound as a component of his initial assessment in many patients.
While an initial ultrasound may be indicated in patients with abnormal uterine bleeding (AUB), chronic
  Case 5:21-cv-00056-LGW-BWC Document 124-3 Filed 12/19/23 Page 16 of 136

pelvic pain or a pelvic mass. One would then routinely follow up an abnormal finding at a set interval
with repeat ultrasound.

5. High frequency of pelvic exams
A common theme that arose from the medical record review is the high number of repeated pelvic
examinations performed, specifically in a short-time frame while receiving gyn care. Patient P.B. had a
total of 6 of pelvic exams over the course of 10 months: 4/03/19, 4/17/19, 5/02/19, 6/19/19, 8/02/19 and
2/26/20. In the absence of specific symptoms or risk factors, pelvic exams (which may include bimanual
and speculum examinations) are generally not required on a routine basis for reproductive-aged women,
particularly once the primary complaint has been initially evaluated (i.e. abnormal uterine bleeding).
However, discussions about pelvic health, birth control, and sexual health should occur regularly with a
healthcare provider. These discussions can occur in the office without the need for a pelvic exam.

6. Inconsistency with cervical cancer screening/ management of cervical dysplasia guidelines
Dr. Amin is notably inconsistent with his management of cervical cancer screening and treatment of
abnormal pap smears. Dr Bills describes the lifesaving care Dr. Amin provides regarded cervical cancer
treatment, but this is not demonstrated in the medical record review. 13,960 new cervical cancer cases
are diagnosed annually and the lifetime risk of developing cervical cancer is approximately 0.7 % based
on 2017–2019 data. Cervical cancer is most often diagnosed between ages 35 and 44 and therefore the
cadence of pap smear screening and subsequent management is vital. In patients without history of
abnormal pap smears who are over the age of 30, co-testing with a normal pap smear and HPV test can
be performed q 5 years. Specifically in his hysterectomy patients, the records reviewed do not indicate
Dr. Amin followed the American Cancer Society, American Society for Colposcopy and Cervical
Pathology, and American Society for Clinical Pathology Screening Guidelines for the Prevention and
Early Detection of Cervical Cancer guidelines10. Patient W.D. had a repeat pap smear/HPV testing 14
months after a normal pap smear/HPV testing; K.C. never had a pap smear during her care or in the
preoperative preparation for hysterectomy despite reporting numerous times she had never had one in
her gynecologic history; B.P. had inappropriate management of an abnormal high risk pap smear. Rather
than providing a repeat excisional procedure following the LEEP with positive margins, she was quickly
moved to definitive surgery with a simple hysterectomy. Dr. Amin did not have the information he
needed to decide Given the extent of the cervical cancer, Dr. Amin should have referred the patient for a
modified radical hysterectomy following the second excisional biopsy with negative margins. The LVSI
presence or absence and the stage of disease would then inform the gyn oncologist on the best next step,
including risks and benefits.

7. Trauma-informed care (TIC)
Adverse childhood and adult experiences can result in recurrent stress exposures, impacting mental and
physical health. Trauma-informed care (TIC) is an approach to healthcare that recognizes and responds
to the impact of trauma on an individual's physical, mental, and emotional well-being. There are clear
associations with childhood and adult trauma and incarceration12–14. Trauma survivors may have
heightened sensitivity to touch, sounds, or sensations. Ensuring the patient feels supported and cared for
after the exam is an essential aspect of trauma-informed practice. Incarcerated patients represent a
vulnerable patient group due to their restricted access to healthcare resources and the unique healthcare
challenges within correctional facilities. Given the sensitivity of his practice, it did not appear that Dr.
Amin incorporated TIC as a core component of his patient experiences.

Patients medically managed by Dr. Amin
Dr. Bills specifically highlights 14 women who did not have surgery and were rather managed in the
ambulatory care setting without surgical intervention. All 14 received transvaginal ultrasound, some
without a clear indication for the procedure. Several of them underwent repeat TVUS without a clear
indication.
 2 patients were postmenopausal women who desired hormone replacement therapy
           Case 5:21-cv-00056-LGW-BWC Document 124-3 Filed 12/19/23 Page 17 of 136

           3 patients were recommended/scheduled by Dr. Amin to have a ‘D&C scope’ but did not proceed
            due to a) early release, b) COVID positive test and c) declined
           7 premenopausal patients were offered/provided DMPA
           2 were offered a trial of medical therapy a) combined oral contraceptives and b) continuous oral
            progestin

       Therefore, I respectfully disagree with Dr. Bills’ opinions that Dr. Amin provided medical management
       to the 14 patients reviewed for their conditions in the ambulatory setting without surgical intervention.
       Of the premenopausal women, (3/9) were told they ‘needed D&C scope’, but these procedures were not
       performed. My review of the nonsurgical management again depicts a pattern of repeated exams,
       procedures/ultrasounds and surgical recommendations before exploring medical management options.

IV. Conclusions.
In conclusion, based on a comprehensive review of the available medical records and pertinent information, it is
my professional opinion, to a reasonable degree of medical certainty, that Dr. Amin consistently acted in a
surgically aggressive manner, performing unnecessary surgeries and failing to provide patients alternative
medical therapies. From the medical record review, fertility risks were not addressed and some of the
unnecessary surgeries could have impacted future fertility.

As discussed above, it appears that Dr. Amin frequently offered a procedure known as 'D&C scope,' which, in
several instances, may not have been medically necessary and exposed patients to avoidable harm. Dr. Amin
would also consistently remove follicular cysts that did not need to be removed. Ovarian cystectomies have the
unique risk of potential damage to future fertility. Even in the medical records of the women who were deemed
‘medically managed’, several were offered the surgery only to decline or be deported/released before the
surgery date.

The full process of informed consent is fundamental to ethical medical practice. In my review of the medical
records, it did not appear that Dr. Amin consistently followed the full process of informed consent, particularly
in considering surgical interventions with patients. Additionally, from my review of the medical records, Dr.
Amin did appear to not consistently engaged patients in shared medical decision-making.

In conclusion, based on the available information and my professional judgment, it is my opinion that Dr.
Amin's clinical approach demonstrated a pattern of aggressive and unnecessary surgeries that increased risks to
his patients.
Case 5:21-cv-00056-LGW-BWC Document 124-3 Filed 12/19/23 Page 18 of 136




                           Exhibit B
          Case 5:21-cv-00056-LGW-BWC Document 124-3 Filed 12/19/23 Page 19 of 136
Last Revised: September 1, 2023

                                             CURRICULUM VITAE

                                      ERIN TEETER CAREY, MD MSCR

PERSONAL INFORMATION


Business Address      Department of Obstetrics and Gynecology
                      Division of Minimally Invasive Gynecologic Surgery
                      Old Clinic Building 4010, CB 7570
                      University of North Carolina
                      Chapel Hill, NC 27599-7570
                      Office Phone: 984-215-3050
                      Office Fax: 919-595-5648
                      Office Email: erin carey@med.unc.edu

BOARD CERTIFICATION AND LICENSURE

5/2010 – present      North Carolina Medical License#: 2012-00829
11/2020               American Board of Obstetrics & Gynecology (recertification)
11/2013               American Board of Obstetrics & Gynecology – (initial certification)

EDUCATION

Fellowship            Pain Medicine
7/2012 – 6/2013       UNC Department of Anesthesiology
                      Chapel Hill, NC

Fellowship            Advanced Laparoscopy and Pelvic Pain
7/2010 – 6/2012       UNC Department of Obstetrics and Gynecology
                      Chapel Hill, NC

Master of Science     Master of Science and Clinical Research (MSCR)
7/2010 – 6/2012       UNC Department of Epidemiology
                      Chapel Hill, NC

Residency             Department of Obstetrics and Gynecology
7/2006-6/2010         Mayo Clinic
                      Rochester, MN

Doctor of Medicine    Combined BA-MD Program
9/1999-5/2006         University of Missouri – Kansas City

Bachelor of Arts      Combined BA-MD Program
9/1999-5/2006         University of Missouri – Kansas City



PROFESSIONAL EXPERIENCE

11/2021– present      Associate Professor (tenure)
                      UNC Department of Obstetrics and Gynecology

                                                                                            1|Page
          Case 5:21-cv-00056-LGW-BWC Document 124-3 Filed 12/19/23 Page 20 of 136


7/2017 – present   Assistant Professor (tenure track)
                   UNC Department of Obstetrics and Gynecology

3/2016 – present   Division Director, Minimally Invasive Gynecologic Surgery
                   UNC Department of Obstetrics and Gynecology

3/2016 – present   Fellowship Program Director, Minimally Invasive Gynecologic Surgery
                   UNC Department of Obstetrics and Gynecology

3/2016 – 7/2017    Nominated Clinical Assistant Professor
                   UNC Department of Obstetrics and Gynecology

7/2014-3/2016      Assistant Professor (tenure track)
                   Center for Pelvic Pain and Sexual Health
                   Department of Obstetrics and Gynecology
                   University of Kansas Medical Center

7/2013-3/2014      Clinical Instructor
                   Center for Pelvic Pain and Sexual Health
                   Department of Obstetrics and Gynecology
                   University of Kansas Medical Center

7/2010-6/2013      Clinical Instructor
                   Division of Advanced Laparoscopy and Pelvic Pain
                   UNC Department of Obstetrics and Gynecology

7/2010-6/2012      Clinical Fellow
                   Division of Advanced Laparoscopy and Pelvic Pain
                   UNC Department of Obstetrics and Gynecology

HONORS & AWARDS

2021               Office of Health Equity Research (OHER) Award for Yale Research Excellence

2021               Carolina Care Highlight for Clinical Excellence

2020               UNC Hospitals and Faculty Physicians Award for Carolina Care Excellence

2020               Positive Learning Environment Award
                   University of North Carolina School of Medicine

2019-2020          Best Doctors in America

2019               UNC Health Care and UNC Faculty Physicians Award for Carolina Care Excellence

2018-2019          Academic Career Leadership Academy in Medicine (ACCLAIM) Program

9/2010             Excellence in Suturing Fellow Award
                   American Association of Gynecologic Laparoscopists

7/2009-6/2010      Administrative Chief Resident in Obstetrics and Gynecology
                   Mayo Clinic


                                                                                                   2|Page
          Case 5:21-cv-00056-LGW-BWC Document 124-3 Filed 12/19/23 Page 21 of 136
1/2010                 Lawrence Randall Travel Award for Excellence in Leadership
                       Mayo Clinic

5/2006                 Leonard Tow Humanism in Medicine Award
                       University of Missouri-Kansas City School of Medicine

7/2005-5/2006          Gold Humanism Honor Society

BIBLIOGRAPHY

Key to Role on Publications
* Leader for conception, design, data analysis and writing of article/chapter
^ Co-investigator, and contributor to concept and writing
#
  Principal investigator of project and/or mentor to first author
** Co-mentors to first author
‡ Medical Student, + Resident, ~ Fellow, ++ Graduate student, “Jr Faculty
° Co-Leaders for conception, design, data analysis and writing of the article/chapter

Book Chapter
1. Siedhoff M°, Carey ET°. Surgical Management of Pelvic Pain and Endometriosis. Chapter 37. Te Linde’s Operative
   Gynecology, 12th edition. Wolters Kluwer. 2019 pgs. 671-685.
2. Siedhoff M°, Carey ET°. Surgical Management of Pelvic Pain and Endometriosis. Chapter 37. Te Linde’s Operative
   Gynecology, 13th edition. Wolters Kluwer. 2023.
3. Carey ET*, McClurg AM. Evaluation and Management of Chronic Pelvic Pain. Textbook of Minimally Invasive
   Gynecology. CRC Press. Manuscript submitted 6/22/23.

Peer-Reviewed Articles

1. Flatow V, Uy-Kroh J, Carey ET, Ascher-Walsh C, Khalil S. Skeletal muscle relaxants for the treatment of myofascial
   pelvic pain and high tone pelvic floor disorders. Curr Opin Obstet Gynecol. 2023 Aug 1;35(4):311-315.

2. Robinson WR, Mathias JG, Wood ME, Anderson LG, Howard AG, Carey ET, Nicholson WK, Carey TS, Myers ER,
   Stürmer T, Doll KM. Ethnoracial Differences in Premenopausal Hysterectomy: The Role of Symptom Severity.
   Obstet Gynecol. 2023 Aug 1;142(2):350-359. Epub 2023 Jul 5. PMID: 37473411

3. Silverstein RG, Moore KJ, Carey ET, Schiff LD. Credentialing and Patient Safety in Robotic Gynecologic Surgery:
   Changes over the Last Eight Years. JSLS. 2023 Apr-Jun;27(2):e2023.00007. PMID: 37522106

4. Carey ET, Moore KJ, McClurg AB, Degaia A, Tyan P, Schiff L, Dieter AA. Racial Disparities in Hysterectomy
   Route for Benign Disease: Examining Trends and Perioperative Complications from 2007 to 2018 Using the NSQIP
   Database. J Minim Invasive Gynecol. 2023 Aug;30(8):627-634. Epub 2023 Apr 8. PMID: 37037283

5. McClurg AB, Schiff LD, Carey ET, Neal-Perry GS. In Reply. Obstet Gynecol. 2023 Mar 1;141(3):622-623.

6. Wong JMK, Carey ET, King C, Wright KN, King LP, Kho RM. A Call to Action for Ergonomic Surgical Devices
   Designed for Diverse Surgeon End Users. Obstet Gynecol. 2023 Mar 1;141(3):463-466

7. Carey ET*, Geller EJ, Rapkin A, Farb D, Cutting H, Akaninwor J, Stirling C, Bortsov A, McNulty S, Merrill P,
   Zakroysky P, Luo S, and Nackley AG. Rationale and design of a multicenter randomized clinical trial of
   Vestibulodynia: Understanding Pathophysiology and Determining Appropriate Treatments (Vestibulodynia:
   UPDATe). Ann Med. 2022 Dec;54(1):2885-2897. PMID: 36269028

8. McClurg AB, Arora KS, Schiff LD, Carey ET^, Neal-Perry GS. Dismantling Structural Barriers: Resident Clinics
   Refocused on Equity. Obstet Gynecol. 2022 Nov 1;140(5):739-742. PMID: 36201760
                                                                                                          3|Page
          Case 5:21-cv-00056-LGW-BWC Document 124-3 Filed 12/19/23 Page 22 of 136


9. Wong JMK, Moore KJ, Lewis P, Reid M, Saul K, Carey ET**. Ergonomic Assessment of Surgeon Characteristics
   and Laparoscopic Device Strain in Gynecologic Surgery. J Minim Invasive Gynecol. 2022 Sep 30:S1553-
   4650(22)00916-5. Epub ahead of print. PMID: 36191883

10. Wong JMK, Moore KJ, Carey ET**. Investigation of the Association between Surgeon Sex and Laparoscopic
    Device Ergonomic Strain in Gynecologic Surgery. J Minim Invasive Gynecol. J Minim Invasive Gynecol. 2022
    Aug;29(8):984-991. PMID: 35513300

11. Dieter AA, Moore K, Willis-Gray MG, Gutman RE, Iglesia CB, Carey ET. Length of Stay and 30-Day Postoperative
    Complications Following Minimally Invasive Apical Prolapse Repair. Female Pelvic Medicine & Reconstructive
    Surgery. 2022 Jun 18. PMID: 35759772

12. Ringel N, Brown O, Moore KJ, Carey ET^, Dieter A. Disparities in Complications After Prolapse Repair and Sling
    Procedures: Trends from 2010-2018. Urology. 2022 Feb;160:81-86. PMID: 34800479

13. Doll KM, Howard AG, Sturmer T, Carey T, Nicholson WK, Carey ET^, Myers E, Nerenz D, Robinson WR.
    Development of an algorithm to assess unmeasured symptom severity in gynecologic care. Am J Obstet Gynecol.
    2022 Mar;226(3):388.e1-388.e11. PMID: 34752734.

14. Dahl D‡, Whitesell A, Sharma-Huynh P, Maturavongsadit P, Janusziewicz R, Fox R, Loznev H, Dingemans T, Button
    B, Schorzman A, Zamboni W, Ban J, Montgomery SA, Carey ET**, Benhabbour R**. A mucoadhesive
    biodissolvable thin film for localized and rapid delivery of lidocaine for the treatment of vestibulodynia. International
    Journal of Pharmaceutics. 2022 Jan 25;612:121288. PMID: 34800616

15. Carey ET*, Moore KJ, Young JC, Bhattacharya M, Schiff LD, Louie M, Strassle PD. Association of Preoperative
    Depression and Anxiety with Long-term Opioid Use After Hysterectomy for Benign Indications. Obstet Gynecol.
    2021 Nov 1;138(5):715-724. PMID: 34619742

16. Tyan P, Hawa N, Carey E^, Urbina P, Chen FR, fl. "Trends and Perioperative Outcomes Across Elective Benign
    Hysterectomy Procedures from the ACS-NSQIP 2007-2017". J Minim Invasive Gynecol. 2022 Mar;29(3):365-374.e2.
    PMID: 34610464

17. Cromeens MG, Carey ET#, Robinson WR, Knafl K, Thoyre S. Timing, delays and pathways to diagnosis of
    endometriosis: a scoping review protocol. BMJ Open. 2021 Jun 24;11(6):e049390

18. Abu-Alnadi N, Moore K, Frame B, Carey ET#. Myofascial Pain in Hysterectomy Patients.
    J Minim Invasive Gynecol. 2021 Jun 17:S1553-4650(21)00288-0. PMID: 34147694

19. Orlando M, Moulder J, Carrillo JF, Carey ET^, Findley AD, Atashroo D, Dassel M. Chronic Pelvic Pain Educational
    Experience Among Minimally Invasive Gynecologic Surgery Fellows and Recent Graduates: A Needs Assessment. J
    Minim Invasive Gynecol. 2021 May 5:S1553-4650(21)00199-0. Online ahead of print. PMID: 33962024

20. Clark N~, Maghsouldou P, Moore K, North A, Mobolaji A, Einarsson J, Louie M, Schiff L, Moawad G, Cohen S,
    Carey ET#. Superior hypogastric plexus block for pain relief after laparoscopic hysterectomy: A Randomized
    Controlled Trial. Obstet Gynecol. 2021 Apr 1;137(4):648-656.
    PMID: 33706344.

21. Cromeens, M.G.++, Thoyre, S., Carey, E**., Knafl, K., Robinson, W.R. Inquiry into women’s pathways to diagnosis
    of endometriosis: A qualitative study protocol. J Adv Nurs. 2021 Feb;77(2):1017-1026. Epub 2020 Oct 27.PMID:
    33107642




                                                                                                                 4|Page
          Case 5:21-cv-00056-LGW-BWC Document 124-3 Filed 12/19/23 Page 23 of 136
22. Stone R, Carey E^, Fader AN, et al. Enhanced Recovery and Surgical Optimization Protocol for Minimally Invasive
    Gynecologic Surgery: An AAGL White Paper. J Minim Invasive Gynecol. 2021 Feb;28(2):179-203. Epub 2020 Aug
    20. PMID: 32827721

23. Dieter A°, Willis-Gray M, Carey ET°. Opioid Education in Obstetrics and Gynecology Training Programs. South
    Med J. 2021 Jan;114(1):4-7. PMID: 33398352.

24. Misal, M~, Dizon AM‡, Louie M‡, Carey ET^, Wright KN, Greene NH, Siedhoff MT. Risk of Urinary Tract
    Infection Symptoms after Posthysterectomy Cystoscopy with 50% Dextrose as Compared with Saline Cystoscopy
    with Indigo Carmine. J Minim Invasive Gynecol. 2021 Feb;28(2):282-287. PMID: 32474174

25. Rosenbaum A~, Voltzke K, Louie M, Schiff L, Carey E#. Post-Anesthesia Care Unit Length of Stay and
    Complications Among Same-Day Discharged Laparoscopic Hysterectomy Patients. Journal of Gynecologic Surgery.
    Published Online: 31 Mar 2020 https://doi.org/10.1089/gyn.2019.0099

26. Tyan P~, Taher A, Carey ET**, Amdur R, Sparks A, Tamim H, Gu A, Wei C, Moawad G. The Effect of Anemia
    Severity on Postoperative Morbidity Among Patients Undergoing Laparoscopic Hysterectomy for Benign Indications.
    Acta Obstet Gynecol Scand. 2020 Jan;99(1):112-118. PMID: 31449328.

27. Tyan P~, Taher A, Carey ET**, Amdur R, Messersmith C, Robinson H, Gu A, Vargas M. Moawad G. Effect of
    Perioperative Transfusion on Postoperative Morbidity Following Minimally Invasive Hysterectomy for Benign
    Indications. J Minim Invasive Gynecol. 2020 Jan;27(1):200-205. PMID: 30930213.

28. Whitley J‡, Moore K, Carey ET^, Louie M. The Effect of Bariatric Surgery on Perioperative Complications After
    Hysterectomy. J Minim Invasive Gynecol. J Minim Invasive Gynecol. 2020 Sep-Oct;27(6):1363-1369. Epub 2019 Dec
    14. PMID: 31843695

29. Carey ET*, Moore K. Updates in the Approach to Chronic Pelvic Pain: What the Treating Gynecologist Should Know.
    Clin Obstet Gynecol. 2019. Dec;62)4):666-676. PMID: 31524660.

30. Cassling C+, Shay R‡, Strassle P, Voltzke K, Schiff L, Louie M, Carey ET#. Use of Historical Surgical Times to Predict
    Duration of Hysterectomy: Stratifying by Uterine Weight. J Minim Invasive Gynecol. Nov-Dec 2019;26(7):1327-1333.
    PMID: 30639320.

31. Keil DS, Schiff LD, Carey ET^, Moulder JK, Goetzinger AM, Patidar SM, Hance LM, Kolarczyk LM, Isaak RS,
    Strassle PD, Schoenherr JW. Predictors of Admission After the Implementation of an Enhanced Recovery After
    Surgery Pathway for Minimally Invasive Gynecologic Surgery. Anesth Analg. 2019 Sep;129(3):776-783. PMID:
    31425219

32. Schiff L, Voltzke K, Strassle P, Louie M, Carey ET#. Effect of length of hospital stay on infection and readmission
    after minimally invasive hysterectomy. Int J Gynaecol Obstet. 2019 Jun;145(3):293-299. PMID: 30929251.

33. Louie M~, Strassle P, Moulder JK, Dizon M, Schiff L, Carey ET#. Uterine weight and complications after abdominal,
    laparoscopic, and vaginal hysterectomy. Am J Obstet Gynecol. 2018 Nov;219(5):480.e1-480. PMID: 29959931.

34. Carey ET*, Moulder JK. Perioperative Management and Implementation of Enhanced Recovery Programs in
    Gynecologic Surgery for Benign Indications. Obstet Gynecol. 2018 Jul;132(1):137-146. PMID: 29889743.

35. Dizon AM~, Carey ET#. Minimally invasive gynecologic surgery in the pregnant patient: considerations, techniques,
    and postoperative management per trimester. Curr Opin Obstet Gynecol. 2018 Aug;30(4):267-271. PMID: 29889668.

36. Biggs, W, Carey ET#, McIntyre J. Chronic Pelvic Pain: Limited Evidence Guides Empiric Treatment.
    J Fam Pract. 2018 Mar;67(3): E1-E9. PMID: 29509818.


                                                                                                               5|Page
          Case 5:21-cv-00056-LGW-BWC Document 124-3 Filed 12/19/23 Page 24 of 136
37. Carey ET*, Till S, As-Sanie S. Pharmacological Management of Chronic Pelvic Pain in Women. Drugs. 2017
    Mar;77(3):285-301. PMID: 28074359.

38. Zoorob D°, Higgins M, Swan K, Cummings J, Dominguez S, Carey E°. Barriers to Pelvic Floor Physical Therapy
    Regarding Treatment of High-Tone Pelvic Floor Dysfunction. Female Pelvic Med Reconstr Surg. 2017
    Nov/Dec;23(6):444-448. PMID: 28145917.

39. Carey ET*. As-Sanie S. New Developments in the Pharmacotherapy of Neuropathic Chronic Pelvic Pain. Future
    Science Open. 2016 Oct 5;2(4): FSO148. PMID: 28116131.

40. Senapati S, Atashroo D, Carey ET^, Dassel M, Tu MF. Surgical interventions for chronic Pelvic pain. Curr Opin Obstet
    Gynecol. 2016 Aug: 28 (4): 290-6. PMID: 27285959.

41. Siedhoff MT, Carey ET^, Findley A, Hobbs K, Moulder J, Steege JS. Post-hysterectomy Dyspareunia. J Minim
    Invasive Gynecol. 2014. July-Aug 21(4);567-75. PMID: 24576505.

42. Grimstad FW+, Carey E#. Periclitoral Endometriosis: the dilemma of a chronic disease invading a rare location. J
    Minim Invasive Gynecol. 2015 May-Jun; 22 (4):684-6. PMID: 25680686.

43. Carey ET*, Martin C‡, Siedhoff MT, As-Sanie S. Biopsychosocial Correlates of Persistent Post-Surgical Pain in
    Women with Endometriosis. International Journal of Gynecology and
    Obstetrics 2014 Feb; 124 (2):169-73. PMID: 24290537.

44. Findley AD~, Siedhoff MT, Hobbs KA, Steege JF, Carey ET^, McCall CA, Steiner AZ.
    Short-term effects of salpingectomy during laparoscopic hysterectomy on ovarian reserve: a
    pilot randomized controlled trial. Fertil Steril. 2013 Dec; 100(6):1704-8. PMID: 23993887.

45. Carey ET*, Zolnoun D. Superimposed MRSA Infection of Vulvar Eczematous Dermatitis. The Journal of
    Reproductive Medicine. 2013 May-Jun; 58(5-6); 261-3. PMID: 23763013.

46. Wagner J, Damitz L, Carey ET^, Zolnoun D. Bilateral Accessory Breast Tissue of the Vulva: A Case Report
    Introducing a Novel Labiaplasty Technique. Annals of Plastic Surgery. 2013 May; 60(5):549-52. PMID: 23542853.

47. Siedhoff M, Carey ET^, Findley A, Riggins L, Garrett J, Steege J. Effect of Extreme Obesity on Outcomes in
    Laparoscopic Hysterectomy. Journal of Minimally Invasive Gynecology 2012
    Nov;19 (6):701-7. PMID: 23084673.

48. Peedicayil A, Weaver A, Li X, Carey ET^, Cliby W and Marian A. Incidence and timing of venous thromboembolism
    after surgery for gynecological cancer. Gynecologic Oncology, 2011 Apr;121 (1):64-9. PMID: 21183211.

49. Carey ET*, El-Nashar S, Hopkins M, Creedon D, Cliby W, Famuyide A. Pathologic characteristics of hysterectomy
    specimens in women undergoing hysterectomy after global endometrial ablation. Journal of Minimally Invasive
    Gynecology 2011 Jan-Feb;18 (1):96-9. PMID: 21195959.

In press, Peer-Reviewed Papers/Articles

1. Silverstein RG, Kwon C, Qaqish B, Li L, McClurg A, Carey E. Effects of prior cesarean section on outcomes of
   laparoscopic hysterectomy performed by fellowship trained minimally invasive gynecologic surgeons. Accepted to the
   Journal of Gynecologic Surgery 7/10/2023. 12 pages including title page/abstract/references.

2. Silverstein RG, Cromeens MG, Rowland C, Ogbansiegbe JA, Mihas P, Benhabbour SR, Carey ET. Preferred
   Physical Characteristics of Lidocaine Thin Film for Women with Vestibulodynia. Accepted with revisions to the
   Frontiers in Pain Research 5/04/23. 19 pages including title page/abstract/references.


                                                                                                             6|Page
          Case 5:21-cv-00056-LGW-BWC Document 124-3 Filed 12/19/23 Page 25 of 136


Submitted Peer-Reviewed Articles

3. Torosis M, Carey E, Christensen K, Kaufman M, Kenton K, Kotarinos R, Lai H, Lee U, Lowder J, Meister M,
   Spitznagle T, Wright K, Ackerman AL. A clinical consensus treatment algorithm for patients with high tone pelvic
   floor dysfunction: A Delphi study of national experts. Submitted to BMC Medical 9/01/23. 24 pages including title
   page/abstract/references.

4. Haji-Noor Z, Carey E, Kinlaw A, Vines AM, Howard AG, JG Mathias, Anderson L, Pettifor A, Robinson W.
   Application of a clinical pathway for retrospective classification of patients’ eligibility for minimally invasive
   hysterectomy using electronic medical records from the Carolina Hysterectomy Cohort, 2014-2017. Submitted
   8/05/2023. 22 pages including title page/abstract/references.

5. Agu I, Das R, Geller EJ, Carey ET, Chu C. Prevalence of Lower Urinary Tract Symptoms in Women Planning to
   Undergo Hysterectomy for Uterine Leiomyoma. International Urogynecology Journal. Submitted 7/26/2023. 12 pages
   including title page/abstract/references.

6. Sullender RT, Silverstein RG, Goodwin DM, McClurg AB, Carey ET. Low Dose Naltrexone as an Experimental
   Treatment for Vulvodynia: A Case Series. Submitted 7/25/23 to Case Reports in Women’s Health. 11 pages including
   title page/abstract/references.

7. Cromeens MG, Knafl K, Robinson W, Carey ET, Carpenter J, Haji-Noor Z, Thoyre S. Endometriosis and disability:
   Analysis of federal court appeals of Social Security Disability Insurance and Supplemental Security Income claims by
   individuals suffering from endometriosis. Accepted with revisions 5/15/23 to Women’s Health Issues. 26 pages
   including title page/abstract/references.

8. Oldan JD, Lee Y, Olinger K. Benefield T, Carey ET, Abu-Alnadi NA, Young SL. Fluoroestradiol PET-MRI Imaging
   for detection of Endometriosis Lesions and Symptom Correlation. World Journal of Nuclear Medicine. Submitted
   7/14/2023. 11 pages including title page/abstract/references.

9. Wright M, Kinlaw A, McClurg AM Carey E, Doll K, Vines AM Olshan A, Robinson W. Appropriateness of
    hysterectomy as treatment for benign gynecologic conditions. Submitted to Fertility and Sterility 6/03/2023. 25 pages
    including title page/abstract/references.

10. Wright M, Kinlaw A, McClurg AM Carey E, Doll K, Vines AM Olshan A, Robinson W. The role of self-classified
    race, insurance status, and hospital type in patients receiving appropriate benign hysterectomy. Submitted to
    Obstetrics & Gynecology 9/15/22. 25 pages including title page/abstract/references.


Other Invited Manuscripts

1. Carey ET, McClurg AB. Evaluation and Medical Management of Chronic Pelvic Pain. Seminars in Interventional
   Radiology. Volume 40, Number 04. August 2023.

2. Goodwin D, Carey E. Management of Endometriosis-Associated Pain. Contemporary OB/GYN. April 2023.

3. Moulder, J.K., Carrillo, J., Carey, E.T. Pelvic Pain in the Transgender Man. Curr Obstet Gynecol Rep 9, 138–145
   (2020).

4. Carey, ET*. Vaginismus: Causes, symptoms and treatment. The International Urogynecological Association (IUGA)
   eLearning Portal. September 2019.

5. Tyan P~, Carey ET#. Physiological Response to Opioids. Clinical Obstetrics and Gynecology. 2019 Mar;62(1):11-21.
   PMID: 30668556.
                                                                                                                 7|Page
           Case 5:21-cv-00056-LGW-BWC Document 124-3 Filed 12/19/23 Page 26 of 136


 6. Carey ET*. Opioids Misuse and Abuse: The Rise and Fall of a National Opioid Epidemic. Clin Obstet Gynecol. 2019
    Mar;62(1):1-2. PMID: 30664584

 7. Carey ET*, Findley A. Caring for patients with chronic pelvic pain. Contemporary OBGYN. January 2015.

 8. Carey ET*. First Aid for the USMLE Step 3--Online Question Bank Contributor of OB/GYN questions. 2008.


 Published Abstracts

1. Torosis M, Carey E, Christensen K, Kaufman M, Kenton K, Kotarinos R, Lai H, Lee U, Lowder J, Meister M, Sptiznagle
   T, Wright K, Ackerman AL. A Clinical Consensus Treatment Algorithm for Patients with High Tone Pelvic Floor
   Dysfunction: A Delphi Study of National Experts. Female Pelvic Med Reconstr Surg June 2022. Vol28:6, Supplement
   1.

2. Iakovlev V, Carey E^, Steege J. Pathology of Explanted Transvaginal Meshes. International Journal of Medical, Health,
   Pharmaceutical and Biomedical Engineering, 2014, 8(9): 510-13.

 Presented Abstracts

Peer-Reviewed Oral Presentations

1. Johnson A, McClurg A, Carey ET. Barriers influencing decision to pursue fertility preservation prior to gender-
   affirming surgery among transgender men/gender non-binary persons. American Society for Reproductive Medicine.
   New Orleans, LA. October 14-18, 2023.

2. Johnson A, McClurg A, Carey ET. Decisional regret regarding preoperative fertility preservation choices following
   gender-affirming surgery among transgender men/gender non-binary persons. American Society for Reproductive
   Medicine. New Orleans, LA. October 14-18, 2023.

3. Beltran TG, Lett E, Poteat T, Thomas KC, Pence BW, Carey ET, Hincapie-Castillo JM. The Use of Computational
   Phenotypes Within Electronic Healthcare Data to Identify Transgender People: A Narrative Review. 37th International
   Conference on Performance Engineering (ICPE). Halifax, Nova Scotia, Canada. August 23-27th,2023.

4. Cromeens MG, Rowland C, Ogbansiegbe J, Mihas P, Silverstein RG, Benhabbour R, Carey E. “Hoping it will be
   better next time:” A qualitative analysis of treatment decision-making with Vulvodynia. International Society for the
   Study of Women’s Sexual Health. St. Louis, MO. March 2-5, 2023.

5. Agu I, Das R, Geller E, Carey ET, Chu C. Prevalence of Baseline Lower Urinary Tract Symptoms in Women
   Planning to Undergo Hysterectomy for Uterine Fibroids. 51ST AAGL Global Congress on Minimally Invasive
   Gynecology. Denver, CO. December 1-4, 2022.

6. Torosis M, Carey ET, Christensen K, Kaufman M, Kenton K, Kotarinos R, Lai H, Lee U, Lowder J, Meister M,
   Spitznagle T, Wright K, Ackerman AL. A clinical consensus treatment algorithm for patients with high tone pelvic
   floor dysfunction: A Delphi study of national experts. American Urogynecologic Society/International
   Urogynecological Association. Austin, TX. June 14-18, 2022.

7. Wong J, Moore K, Lewis P, Reid M, Saul K, Carey ET#. Ergonomic Simulation Investigating Surgeon Characteristics
   and Laparoscopic Device Strain in Gynecologic Surgery. 48th Annual Scientific Meeting Society of Gynecologic
   Surgeons. San Antonio, TX. March 2022.

8. Phipps D., Southworth E., Welch K., Carey E. Relationship Between Adverse Childhood Experiences and Vulvodynia
   Pain Scores. ISSWSH Annual Meeting. Dallas, TX. March 3-6, 2022,

                                                                                                               8|Page
           Case 5:21-cv-00056-LGW-BWC Document 124-3 Filed 12/19/23 Page 27 of 136


9. Moore KJ, Wong JMK, Dizon AM, Louie M, Moulder JK, Schiff LD, Carey ET#. 30-Day Incidence of Complications
   and Readmission after Myomectomy. 50th AAGL Global Congress on Minimally Invasive Gynecology. Austin, TX.
   November 14-17, 2021.

10. Wong JKM, Reid M, Moore K, Saul K, Carey ET#. Investigation of the association between surgeon sex and
    ergonomic strain with laparoscopic device use. Submitted to 50th AAGL Global Congress on Minimally Invasive
    Gynecology. Austin, TX. November 14-17, 2021.

11. Ringel N, Brown O, Moore KJ, Carey ET, Dieter A. Racial and Ethnic Disparities in Complications After Apical
    Support and Sling Procedures- National Trends Over Time: A secondary analysis of the National Surgical Quality
    Improvement Program Database. 47th Annual Scientific Meeting Society of Gynecologic Surgeons. Palm Springs, CA.
    June 2021.

12. Wong J, McClurg A, Moore K, Carey ET. Investigation of the Association Between Surgeon Sex and Laparoscopic
    Device Ergonomic Strain in Gynecologic Surgery. 47th Annual Scientific Meeting Society of Gynecologic Surgeons.
    Palm Springs, CA. June 2021.

13. Dieter AA, Moore KJ, Willis-Gray MG, Iglesia CB, Gutman RE, Carey ET. Urogynecologic Surgery from 2008
    through 2018: Examining trends in apical prolapse repair, incontinence surgery and mesh utilization using the NSQIP
    database. American Urogynecologic Society; Vancouver, BC Canada. October 6-10, 2020.

14. Dieter AA, Moore K, Willis-Gray MG, Gutman RE, Iglesia CB, Carey ET. Length of Stay and 30-Day Postoperative
    Complications Following Minimally Invasive Apical Prolapse Repair. American Urogynecologic Society; Vancouver,
    BC Canada. October 6-10, 2020.

15. Carey ET, Strassle PD, Moore K, Schiff L, Louie M. Associations between preoperative depression, hysterectomy, and
    postoperative opioid use. 48thAmerican Association of Gynecologic Laparoscopists (AAGL) Global Congress of
    Minimally Invasive Gynecology; Vancouver, BC Canada. November 2019.

16. Clark N, Maghsouldou P, Voltzke K, North A, Ajao M, Einarsson J Louie M, Schiff L, Moawad G, Cohen S, Carey
    ET. Superior hypogastric plexus block following laparoscopic hysterectomy: a randomized controlled trial.
    48thAmerican Association of Gynecologic Laparoscopists (AAGL) Global Congress of Minimally Invasive Gynecology;
    Vancouver, BC Canada. November 2019.

17. Rosenbaum A, Voltzke K, Louie M, Schiff L, Carey ET#. Post-Anesthesia Care Unit Length of Stay and Complications
    Among Same-Day Discharged Laparoscopic Hysterectomy Patients. Presented at the Society of Gynecologic Surgeons
    (SGS) 45th Annual Scientific meeting, Tuscon, AZ. March 2019.

18. Tyan P, Taher A, Carey ET, Messersmith C, Robinson H, Vargas M, Moawad G. Effect of Perioperative Transfusion
    on Postoperative Morbidity Following Minimally Invasive Hysterectomy For Benign Indications. Society of
    Gynecologic Surgeons (SGS) 45th Annual Scientific meeting, Tucson, AZ, March 2019.

19. Carey ET, Strassle P, Dizon M. 30-Day Incidence of Complications and Readmission after Abdominal Hysterectomy.
    47thAmerican Association of Gynecologic Laparoscopists (AAGL) Global Congress of Minimally Invasive Gynecology;
    Las Vegas, NV November 2018.

20. Dizon M, Strassle P, Carey ET. 30-Day Incidence of Complications and Readmission after Open Myomectomy.
    47thAmerican Association of Gynecologic Laparoscopists (AAGL) Global Congress of Minimally Invasive Gynecology;
    Las Vegas, NV November 2018.

21. Abu-Alnadi N, Carey ET. Preoperative Predictors of Myofascial Pain in Hysterectomy Patients. 47thAmerican
    Association of Gynecologic Laparoscopists (AAGL) Global Congress of Minimally Invasive Gynecology; Las Vegas,
    NV November 2018.

                                                                                                              9|Page
           Case 5:21-cv-00056-LGW-BWC Document 124-3 Filed 12/19/23 Page 28 of 136


22. Cassling C, Strassle P. Schiff L, Louie M, Carey ET. Use of historical surgical times to predict duration of hysterectomy:
    stratifying by uterine weight. 47thAmerican Association of Gynecologic Laparoscopists (AAGL) Global Congress of
    Minimally Invasive Gynecology; Las Vegas, NV November 2018.

23. Louie M, Strassle PD, Moulder JK, Dizon AM, Schiff LD, Carey ET. “Laparoscopic hysterectomy has fewer
    complications than abdominal hysterectomy regardless of uterine weight: a nationwide cohort study”. Presented at the
    Society of Gynecologic Surgeons (SGS) 44th Annual Scientific meeting, Orlando, FL, March 2018.

24. Dizon AM, Strassle PD, Schiff LD, Louie M, Carey ET, Moulder JK. “Effect of Body Mass Index on Reoperation
    Following Hysterectomy.” Presented at the 46thAmerican Association of Gynecologic Laparoscopists (AAGL) Global
    Congress of Minimally Invasive Gynecology, Washington, D.C., November 2017.

25. Moulder JK, Strassle PD, Louie M, Carey ET, Schiff LD, Dizon AM. “Association of Body Mass Index and
    Complications Following Hysterectomy.” Presented at the 46th American Association of Gynecologic Laparoscopists
    (AAGL) Global Congress of Minimally Invasive Gynecology, Washington, D.C., November 2017.

26. Schiff LD, Strassle PD, Louie M, Carey ET, Moulder JK, Dizon AM. “Effect of Length of Stay on Infection and
    Readmission Following Minimally Invasive Hysterectomy.” Presented at the 46th American Association of Gynecologic
    Laparoscopists (AAGL) Global Congress of Minimally Invasive Gynecology, Washington, D.C., November 2017.

27. Roedner C, Moulder J, Yunker A, Cohen S, Carey ET, Siedhoff M. Simulating Vaginal Cuff Closure During
    Laparoscopic Hysterectomy. CREOG & APGO Annual Meeting. New Orleans, LA. March 2016.

28. Neutzling KA, Rolfes M, Hasassri E, Carey ET. Exploring implementation of a human papilloma virus vaccine program
    in rural Dominican Republic. AAFP Family Medicine Global Health Workshop. Denver, Colorado. October 2015.

29. Iakovlev V, Carey ET, Steege J. Pathology of Explanted Transvaginal Meshes.                World Academy of Science,
    Engineering and Technology. London, UK. September 2014.

30. Siedhoff MT, Clark LH, Findley AD, Hobbs KA, Carey ET. Mechanical Bowel Preparation before Laparoscopic
    Hysterectomy: A Randomized Controlled Trial. 42ND AAGL Global Congress on Minimally Invasive Gynecology.
    National Harbor, MD. November 2013.

31. Findley AD, Siedhoff MT, Hobbs KA, Steege JF, Carey ET, McCall CA, Steiner AZ.
    Short-Term Effects of Salpingectomy during Laparoscopic Hysterectomy on Ovarian Reserve: A Randomized Controlled
    Trial. 42ND AAGL Global Congress on Minimally Invasive Gynecology. National Harbor, MD. November 2013.

32. Findley A, Carey ET, Siedhoff M, Steege J. Pelvic Pain Experience and Education for Fellows in Minimally Invasive
    Gynecologic Surgery. 41st AAGL Global Congress on Minimally Invasive Gynecology. Las Vegas, Nevada. November
    2012.

33. Carey ET, Siedhoff MT, As-Sanie S, Zolnoun DZ. Biopsychosocial Correlates of Persistent Post-surgical Pain in
    Women with Endometriosis. 40th AAGL Global Congress on Minimally Invasive Gynecology. Hollywood, FL,
    November 2011.

34. Siedhoff MT, Carey ET, Riggins, LE, Steege JF. Impact of Extremes of Obesity on Outcomes in Laparoscopic
    Hysterectomy. 40th AAGL Global Congress on Minimally Invasive Gynecology. Hollywood, FL, November 2011.

35. Carey ET, El-Nashar S, Creedon D, Famuyide A, Hopkins M. Feasibility of Hysterosalpingography Following a
    Combined Radiofrequency Global Endometrial Ablation and Hysteroscopic Sterilization Procedure. 38th AAGL Annual
    Meeting Orlando, FL, November 2009.



                                                                                                                 10 | P a g e
          Case 5:21-cv-00056-LGW-BWC Document 124-3 Filed 12/19/23 Page 29 of 136
36. Carey ET, El-Nashar S, Hopkins M, Creedon D, Cliby W, Famuyide A. Pathologic Characteristics of Women who had
    Hysterectomy after Global Endometrial Ablation.37th AAGL Annual Meeting. Las Vegas, NV, October 2008.

37. Keller D, Wright J, Carey ET. Retrospective Evaluation of Antiretroviral Pharmacotherapy in an Urban Infectious
    Diseases Clinic. Abstract published in Pharmacotherapy 2005 Vol. 25, P. 463. University of Missouri – Kansas City
    Research Day. May 2005.

Peer-Reviewed Virtual Abstract Presentations
1. McClurg A, Carey E#. Safe Approaches to Laparoscopy in the 3rd Trimester of Pregnancy. 50th AAGL Global
   Congress on Minimally Invasive Gynecology. Austin, TX. November 14-17, 2021.

2. Wong J, Moore K, McClurg A, Louie M, Al-Jumaily M, Carey ET#. An Investigation of Chlorhexidine Gluconate
   Versus Povidone-Iodine Vaginal Antisepsis and Rate of Surgical Site Infection in Laparoscopic Hysterectomy. 47th
   Annual Scientific Meeting Society of Gynecologic Surgeons. Palm Springs, CA. June 2021.

3. McClurg A, Moore K, Wong J, Louie M, Al-Jumaily M, Carey ET#. Effect of preoperative antibiotic prophylaxis
   regimen on the rate of surgical site infection after laparoscopic hysterectomy. 47th Annual Scientific Meeting Society
   of Gynecologic Surgeons. Palm Springs, CA. June 2021.

4. Carey ET, Al-Jumaily M, Louie M, Abu-Alnadi N, Schiff L, Moore KJ. Evaluation of the American College of
   Surgeons National Surgical Quality Improvement Program Surgical Risk Calculator in Benign Minimally Invasive
   Hysterectomy. 49thAmerican Association of Gynecologic Laparoscopists (AAGL) Global Congress of Minimally
   Invasive Gynecology; Virtual. November 2020.

5. Carey ET, Moore KJ, Jones H, Tyan P, Al-Jumaily M, Dieter AA. Racial Disparities in Hysterectomy Route for
   Benign Disease: Examining trends from 2007-2018 using the NSQIP database. 49thAmerican Association of
   Gynecologic Laparoscopists (AAGL) Global Congress of Minimally Invasive Gynecology; Virtual. November 2020.

6. Cromeens MG, Thoyre S, Knafl K, Robinson WR, Tan KR, Carey ET. Federal appeal case review of Social Security
    Disability Insurance and Supplemental Security Income Disability claims by women with endometriosis. American
    Public Health Association 2020 Annual Research Meeting. October 24-28. San Francisco, CA, USA (Virtual option
    due to COVID-19).

7. Cromeens MG, Thoyre S, Carey, ET, Knafl K, Robinson WR. A study protocol for qualitative inquiry into pathways
    to diagnosis of endometriosis for an ethnically diverse sample of women. American Public Health Association 2020
    Annual Research Meeting. October 24-28. San Francisco, CA, USA (Virtual option due to COVID-19).

8. Cromeens MG, Petermann V, Carey ET, Robinson WR, Knafl K, Thoyre, S. A systematic scoping review of timing,
    delays and pathways to diagnosis of endometriosis. American Public Health Association 2020 Annual Research
    Meeting. October 24-28. San Francisco, CA, USA (Virtual option due to COVID-19).

9. Dahl D, Whitesell A, Sharma-Huynh P, Janusziewicz R, Fox R, Loznev H, Dingemans T, Button B, Carey ET,
   Benhabbour SR. A Novel Mucoadhesive Biodissolvable Film For Localized And Efficient Treatment of
   Vestibulodynia. BMES 2020 Virtual Annual Meeting on October 14-17, 2020.

10. Jones HM, Moore K, Al Jumaily M, Carey ET. New and Persistent Pelvic Pain Following Hysterectomy in Women
    with Chronic Pelvic Pain Compared with Women without Chronic Pelvic Pain. 23rd Annual Scientific meeting for the
    International Pelvic Pain Society. Virtual. October 2020.

Peer-Reviewed Poster Presentations

1. Geller EJ; Cutting, H; Farb, D; Rapkin, A; Carey, E; Nackley, A; Akaninwor, J1; Stirling, C; Borstov, ; Mcnultry, S;
   Merrill, P; Zakroysky, P; Luo, S; Delarosa, J. Baseline Characteristics of Participants in a Multicenter Randomized
   Clinical Trial of Vestibulodynia: Understanding Pathophysiology and Determining Appropriate Treatments

                                                                                                              11 | P a g e
          Case 5:21-cv-00056-LGW-BWC Document 124-3 Filed 12/19/23 Page 30 of 136
    (Vestibulodynia: UPDATe). International Urogynecology Association Annual Scientific Meeting, Amsterdam,
    Netherlands, June 21-24, 2023.

2. Cromeens MG, Thoyre S, Carey ET, Robinson WR, Knafl K. “I just dealt with it silently:” Individuals with
   endometriosis talk about retreating into silence on their diagnostic pathways. (Oral/Poster presentation). 15th World
   Congress on Endometriosis. Edinburgh, Scotland. May 3-6, 2023.

3. Cromeens, M.G., Thoyre, S., Knafl, K., Carey, ET., Tan, K., & Robinson, W.R. (planned May 2023). Endometriosis
   diagnostic pathways: Qualitative investigation of a diverse population, United States (Oral/Poster presentation). 15th
   World Congress on Endometriosis. Edinburgh, Scotland. May 3-6, 2023

4. Ogbansiegbe J, Rowland C, Mihas P, Benhabbour R, Carey E*. Preferred Physical Characteristics of Lidocaine Film
   for Women with Vestibulodynia. International Society for the Study of Women’s Sexual Health. St. Louis, MO. March
   2-5, 2023.

5. Cutting H, Farb D, Rapkin A, Carey ET, Geller EJ, Akaninwor J, Stirling C, Bortsov A, McNulty S, Merrill P,
    Zakroysky P, Luo S, and Nackley AG. Baseline characteristics of participants in a multicenter randomized clinical
    trial of Vestibulodynia: Understanding Pathophysiology and Determining Appropriate Treatments (Vestibulodynia:
    UPDATe). International Society for the Study of Women’s Sexual Health. St. Louis, MO. March 2-5, 2023.

6. Carey E, McClurg AM, Al-Jumaily M, Moore K. Creating a surgical risk calculator for benign hysterectomy using
   classical lasso regression. Society of Gynecologic Surgeons (SGS) 49th Annual Scientific Meeting. Tucson, AZ.
   March 19-22, 2023.

7. Silverstein RG, Kwon CS, Li L, Qaqish B, McClurg AB, Carey ET. Effects of prior cesarean section on outcomes of
   laparoscopic hysterectomies performed by minimally invasive gynecology trained surgeons. 51ST AAGL Global
   Congress on Minimally Invasive Gynecology. Denver, CO. December 1-4, 2022.

8. Cromeens MG, Thoyre S., Robinson WR, Carey ET, Tan K, Knafl K. Examining Pathways to Endometriosis
    Diagnosis Among a Diverse Sample Through a Life Course Lens. American Public Health Association 2022 Annual
    Meeting and Expo. Boston, M.A. November 6-9, 2022.

9. Cromeens MG, Thoyre S., Robinson WR, Carey ET, Tan K, Knafl K. Exploring Perceptions of Times to Diagnosis
    Among a Diverse Sample with Endometriosis (Poster/Oral Presentation submission). American Public Health
    Association 2022 Annual Meeting and Expo. Boston, M.A. November 6-9, 2022.

10. Rowland C, Cromeens MG, Ogbansiegbe J, Mihas P, Benhabbour R, Carey E. "“They Do Make You Feel
    Embarrassed or Ashamed or Like You're Crazy”: Patient-provider Communication About Vulvar Pain". 25th Annual
    Scientific Meeting of IPPS. Orlando, FL, USA, September 29 - October 2, 2022.

11. Rahim S, Daniels C, Hughes R, Phipps D, Carey E. "Collection of Electronic Patient-reported Symptoms in Patients
    with Vulvodynia using Epic MyChart Survey". 25th Annual Scientific Meeting of IPPS. Orlando, FL, USA,
    September 29 - October 2, 2022.

12. Carey ET*, Moore KJ, Dahl DK, Sharma P, Al-Jumaily M, Benhabbour R. Patient preference and acceptability of a
    novel drug delivery system for vestibulodynia. International Association for the Study of Pain. Toronto, Canada.
    September 19-23, 2022.

13. Arcaz A, Dieter A, Carey E. "Assessing the effects of exogenous sex hormones on the urogenital system: a survey of
    transgender men on systemic testosterone therapy and cisgender premenopausal women". World Professional
    Association for Transgender Health, 27th Scientific Symposium, Montreal, Quebec, Canada, from September 16 - 20,
    2022.



                                                                                                               12 | P a g e
          Case 5:21-cv-00056-LGW-BWC Document 124-3 Filed 12/19/23 Page 31 of 136

14. Cromeens MG, Thoyre S., Robinson WR, Carey ET, Knafl K. Individuals with Endometriosis Share Advice for
    Others on Pathways to Diagnoses: A Qualitative Analysis. AcademyHealth 2022 Annual Research Meeting.
    Washington, D.C. June 2022.

15. Cromeens MG, Thoyre S., Robinson WR, Carey ET, Knafl K. Patient-Provider Communication in the Pathways to
    Diagnosis of Endometriosis: A Qualitative Analysis. AcademyHealth 2022 Annual Research Meeting. Washington,
    D.C. June 2022.

16. Wong J, McClurg A, Moore K, Carey ET. Investigation of the Association Between Surgeon Sex and Laparoscopic
    Device Ergonomic Strain in Gynecologic Surgery. 2nd Annual UNC Women’s Health Research Poster Presentation
    and Awards Program. May 2021.

17. Bhattacharya M, Carey ET, Moore K, Schiff L, Louie M, Strassle PD. Associations between preoperative depression,
    hysterectomy, and postoperative opioid use. University of Minnesota School of Public Health Research Day. April
    2020.
18. Cromeens MG, Thoyre S, Knafl K, Robinson W, Tan KR, Carey ET. Federal Appeal Case Review of Social Security
    Disability Insurance and Supplemental Security Income Disability Claims by Women with Endometriosis. Academy of
    Health 2020 Annual Research Meeting. Boston, MA. June 13-16, 2020.

19. Ciu J, Voltzke K, Carey ET#. Combined Colorectal/Gynecology Laparoscopic Approach in Deep Infiltrating
    Endometriosis. 48thAmerican Association of Gynecologic Laparoscopists (AAGL) Global Congress of Minimally
    Invasive Gynecology; Vancouver, BC Canada. November 2019.

20. Dahl D, Sharma P, Carey ET, Benhabbour R. A Novel Biodissolvable Film for Localized and Efficient Treatment of
    Vulvodynia. UNC/NCSU BioMedical Engineering September 2018.

21. Robinson WR, Hoffman SR, Carey ET, Nicholson WK, Stürmer T, Carey TS, Myers ER, Doll KM. Use of electronic
    health records (EHR) data as a catalyst for health equity research in women’s health. Interdisciplinary Association for
    Population Health Science (IAPHS) Conference; Washington, DC. October 2018.

22. Hoffman SR, Doll KM, Carey ET, Myers ER, Robinson WR. Identifying well-woman visits in health care data to
    advance women’s health research: A systematic review. 34th International Conference on Pharmacoepidemiology &
    Therapeutic Risk Management (ICPE); Prague, CZ. October 2018.

23. Carey ET, Strassle PD, Louie M, Dizon AM, Moulder JK, Schiff LD. Effect of Endometriosis on Urogenital Fistula
    Risk Following Hysterectomy. 46th American Association of Gynecologic Laparoscopists (AAGL) Global Congress
    of Minimally Invasive Gynecology, Washington, D.C., November 2017.

24. Dizon M, Barber E, Louie M, Moulder J, Schiff L, Carey ET. Venous Thromboembolism in Minimally Invasive and
    Open Myomectomy. 43rd Annual Society of Gynecologic Surgeons. San Antonio, Texas. March 2017.

25. Nelson D, Blough A, Swan K, Carey ET. Impact of Annual Surgical Volume on Perioperative Morbidity in Benign
    Hysterectomy. 43rd Annual Society of Gynecologic Surgeons. San Antonio, Texas. March 2017.

26. Vu C, Hernly E, Swan K, Carey ET. Impact of Minimally Invasive Gynecologic Surgery Fellowship Training on
    Concomitant Levonorgestrel Releasing Intrauterine Device Placement at the time of Laparoscopic Surgery. 44th AAGL
    Global Congress on Minimally Invasive Gynecology. Las Vegas, Nevada. November 2015.

27. Rolfes M. Neutzling KA, Hasassri E, Carey ET. Evaluating a short-term medical student service learning trip to the
    Dominican-Haitian border. AAFP Family Medicine Global Health Workshop. Denver, Colorado. October 2015

28. Carey ET, Zolnoun D, Slade G, Bartley E, Ohrbach R, Mulkey F, Brownstein N, Nneji V, Dubner R, Knott C,
    Greenspan J, Fillingim R, Maixner W, Bair E. Association Between Gynecological Characteristics and

                                                                                                              13 | P a g e
          Case 5:21-cv-00056-LGW-BWC Document 124-3 Filed 12/19/23 Page 32 of 136
   Temporomandibular Disorders: Insights from the OPPERA Study. International Association for the Study of Pain.
   Milan, Italy, August 2012.

29. Wilson, D. Carey ET, Zolnoun D, Slade G, Hu W, Browne E, Ohrbach R, Greenspan J, Dubner R, Fillingim R, Maixner
    W, Bair E. Putative Risk Factors for Dysmenorrhea: Results from the OPPERA Study. International Association for the
    Study of Pain. Milan, Italy, August 2012.

30. Gaynor S, Zolnoun D, Carey ET, Slade G, Ohrbach R, Fillingim R, Greenspan J, Dubner R, Maixner W, Bair E.
    OPPERA Study Identifies an Association Between the Use of Hormonal Contraceptives and Orofacial Pain and
    Headaches. International Association for the Study of Pain. Milan, Italy, August 2012.

31. Carey ET, Siedhoff MT, Sokal DC. Vaginal Leakage: A Potentially Unappreciated Influence on Effectiveness of
    Agents in Vaginal Gels. Multipurpose Prevention Technologies for Reproductive Health 2011
    Symposium. Washington, DC, November 2011.

32. Siedhoff MT, Carey ET, Riggins, LE, Steege JF. Impact of Uterine Weight on Outcomes in Laparoscopic
    Hysterectomy. 40th AAGL Global Congress on Minimally Invasive Gynecology. Hollywood, FL, November 2011.

33. Siedhoff MT, Carey ET, Steege JF. A 5-Port Technique for TLH in the Teaching Setting. 40th AAGL Global Congress
    on Minimally Invasive Gynecology. Hollywood, FL, November 2011.

34. Siedhoff MT, Carey ET, Steege JF. Laparoscopic Excision of a Densely Adherent Ovarian Remnant Utilizing a
    Temporary Ureteral Stent. 40th AAGL Global Congress on Minimally Invasive Gynecology. Hollywood, FL,
    November 2011.

35. Carey ET, Siedhoff MT, As-Sanie S, Zolnoun DZ. Biopyschosocial Correlates of Persistent Post-Surgical Pain in
    Women with Endometriosis. 11thWorld Congress on Endometriosis. Montpellier, France, September 2011.

Video Abstracts


1. Silverstein RG, McClurg A, Carey E#. Management of Hemorrhage during Dilation and Evacuation By Mid-
   Procedure Laparoscopic Uterine Artery Ligation. 51ST AAGL Global Congress on Minimally Invasive
   Gynecology. Denver, CO. December 1-4, 2022.

2. McClurg A, Goodwin D, Wong JMK, Carey ET#. Technique for Cost Effective Cystoscopy Following Laparoscopic
   Hysterectomy. 48th Annual Scientific Meeting Society of Gynecologic Surgeons. San Antonio, TX. March 2022

3. Wong JMK, McClurg A, Carey ET#. Abdominal wall injections for chronic pelvic pain: An introduction and how to
   guide. 50th AAGL Global Congress on Minimally Invasive Gynecology. Austin, TX. November 14-17, 2021.

4. Wong JMK, McClurg A, Carey ET#. Levator ani trigger point injections and chemodenervation with onabotulinum
   toxin A (Botox): An introduction and how to guide. 50th AAGL Global Congress on Minimally Invasive
   Gynecology. Austin, TX. November 14-17, 2021. *Winner of the IRCAD (L’Institut de Recherche contre les Cancers
   de l’Appareil Digestif) honoring the best research in education by a Fellow at AAGL.

5. Wong JMK, McClurg A, Carey ET#. Pudendal nerve blocks: An introduction and how to guide. 50th AAGL Global
   Congress on Minimally Invasive Gynecology. Austin, TX. November 14-17, 2021.

6. McClurg AB, Carey ET#. Safe Approaches to Laparoscopy in the 3rd Trimester of Pregnancy. 50th AAGL Global
   Congress on Minimally Invasive Gynecology. Austin, TX. November 14-17, 2021.

7. Carey ET*, Tyan P. Video: Pelvic Pain Targeted Physical Exam. 48thAmerican Association of Gynecologic
   Laparoscopists (AAGL) Global Congress of Minimally Invasive Gynecology; Vancouver, BC Canada. November 2019.

                                                                                                           14 | P a g e
Case 5:21-cv-00056-LGW-BWC Document 124-3 Filed 12/19/23 Page 33 of 136
          Case 5:21-cv-00056-LGW-BWC Document 124-3 Filed 12/19/23 Page 34 of 136

 2016 -         ▪ 25 OB/GYN residents   Identifying and Treating Laparoscopic         ▪ 1, 2-hr seminars/yr.
 2018                                   Surgical Complications


Grand Rounds
At UNC

1. New Frontiers in Vulvodynia. Department of Obstetrics and Gynecology Grand Rounds. University of North Carolina.
   Chapel Hill, NC. January 2021.

2. Predictors of Postsurgical Pain after Hysterectomy. Ross Society. UNC Department of Obstetrics and Gynecology.
   Chapel Hill, NC. June 2016.

3. Sacral Neuromodulation: The Next Big Thing in Complex Gynecologic Pain Syndrome? Department of Obstetrics and
   Gynecology/University of North Carolina. Chapel Hill, NC. May 2013.


Outside UNC

1. Management of Endometriosis-Associated Pain. University of Pittsburgh-McGee. Department of Obstetrics and
   Gynecology. Endometriosis: Every Stage. Every Age. Harrisburg, PA. March 24, 2023.

2. Her Pain is Yours: Pain Management for Endometriosis. Department of Obstetrics and Gynecology. Grand Rounds.
   University of Tennessee Chattanooga. May 15, 2022.

3. Vestibulodynia: Pain Beyond the Pelvis. Department of Obstetrics and Gynecology. Grand Rounds. Georgetown
   University/Med Star. January 2021.

4. Demystifying the Management of Chronic Pelvic Pain. Department of Obstetrics and Gynecology. Grand Rounds.
   Medical College of Georgia at Augusta University. Augusta, GA. November 2018.

5. The Modern Work-up of Chronic Pelvic Pain. Department of Obstetrics & Gynecology Wake Med, Raleigh, NC. Grand
   Rounds. March 2018.

6. Chronic Pelvic Pain: Look up and think outside the pelvis. Department of Obstetrics and Gynecology/Carolinas Medical
   Center. Grand Rounds. Charlotte, NC. May 2015.

7. Dysmenorrhea as a Chronic Pain Condition: Update from the OPPERA study. Department of Obstetrics and
   Gynecology/University of Vermont. Grand Rounds. Burlington, VT. January 2014.

8. Dysmenorrhea: A Functional (and Modifiable?) Chronic Pain Syndrome. Department of Obstetrics and
   Gynecology/Henry Ford Hospital. Grands Rounds. Detroit, MI. December 2013.

Other International/ National/ Regional Presentations
International

1. ‘Psychosocial Perspectives’ Moderator. International Pelvic Pain Society-Virtual Conference. Orlando, FL. October 1,
   2022.

2. Beyond the Kegel: Targeted myofascial treatments for perioperative pelvic pain. Canadian Society for the
   Advancement of Gynecologic Excellence (CanSAGE). Online Education Seminar. April 19, 2021.



                                                                                                               16 | P a g e
           Case 5:21-cv-00056-LGW-BWC Document 124-3 Filed 12/19/23 Page 35 of 136
3. Pain Research Forum Seminar -- Vestibulodynia: Pain Beyond the Pelvis. International Association for the Study of
   Pain. Webinar due to COVID-19. November 2, 2020.

4. ‘Vulvovaginal and Sexual Health’ Moderator. International Pelvic Pain Society-Virtual Conference. October 17,
   2020.

5. ‘Preconference Interactive Case Review’ Moderator. International Pelvic Pain Society-Virtual Conference. October
   11, 2020.

6. Court is in Session: Review of Mass Tort Mesh Litigation. International Urogynecological Association. Nice, France.
   June 2015.

7. No Pain, No Gain. 43RD AAGL Global Congress on Minimally Invasive Gynecology- CME Post-Graduate Seminar
   on Chronic Pelvic Pain. Vancouver, CA. November 2014.


National

1. Racial Disparities in Hysterectomy Route for Benign Disease. 52nd AAGL Global Congress on Minimally Invasive
   Gynecology. Nashville, TN. November 5-8, 2023.

2. Educational blueprint: mapping objectives/reading list/video curriculum. 2022 FMIGS Directors Virtual Summit
   Sessions. November 4, 2022.

3. Pharmacologic Management of Neuropathic Pelvic Pain, How do Genetics Play a Role? 1st Annual Pudendal Neuralgia
   Conference. The Evaluation and Management of Pudendal Neuralgia; How Any Clinician Can Make a Difference.
   Baltimore, MD. November 5, 2022.

4. Endometriosis Management. American College of Obstetricians and Gynecologists. May 7, 2022.

5. Her Pain is Yours: Pain Management for Endometriosis. University of Tennessee Chattanooga. May 19, 2022.

6. Pins and Needles: Behind the science of dry needling, acupuncture, trigger point injections and chemodenervation for
   patients with myofascial pelvic pain. 50th AAGL Global Congress on Minimally Invasive Gynecology. Austin, TX.
   November 14-17, 2021.

7. Hold Back the Pills! Behavioral Therapies before and after Surgery to Manage Postoperative Pain. 49th AAGL Global
   Congress on Minimally Invasive Gynecology. Virtual. November 2020.

8. Genitourinary and Sexual Symptoms of Menopause- When, How and Why to Use Vaginal Moisturizers, Lubricants,
   and Hormone Therapy in Symptomatic Patients. 49th AAGL Global Congress on Minimally Invasive Gynecology.
   Virtual. November 2020.

9. The Role of the Cervix in Sex: Total Laparoscopic vs Supracervical Hysterectomy and Sexual Function. 49th AAGL
   Global Congress on Minimally Invasive Gynecology. Virtual. November 2020.

10. What a Pain! Modern Workup of Chronic Pelvic Pain. Montana Section and Idaho Section of The American College of
    Obstetricians & Gynecologists Annual Clinical Meeting. Big Sky, MT. January 2020.

11. Positioning, Optimization, and Laparoscopic Techniques for Obese Patients. Montana Section and Idaho Section of
    The American College of Obstetricians & Gynecologists Annual Clinical Meeting. Big Sky, MT. January 2020.




                                                                                                           17 | P a g e
           Case 5:21-cv-00056-LGW-BWC Document 124-3 Filed 12/19/23 Page 36 of 136
12. The First Step in Avoiding Hysterectomy Complications: Understanding the Retroperitoneum. Montana Section and
    Idaho Section of The American College of Obstetricians & Gynecologists Annual Clinical Meeting. Big Sky, MT.
    January 2020.

13. MIGS Career Planning Roundtable. 47th AAGL Global Congress on Minimally Invasive Gynecology. Las Vegas, NV.
    Nov 2018.

14. Enhanced Recovery Pathways in Gynecologic Surgery. 46th American Association of Gynecologic Laparoscopists
    (AAGL) Global Congress of Minimally Invasive Gynecology, Washington, D.C. November 2017.

15. Post-Surgical Pain Response of the Pelvic Viscera: Pelvic Floor Tension Myalgia. 46th American Association of
    Gynecologic Laparoscopists (AAGL) Global Congress of Minimally Invasive Gynecology, Washington, D.C.
    November 2017.

16. Persistent Endometriotic Disease: Ovarian Remnant Syndrome and Disease after Menopause. 46th American
    Association of Gynecologic Laparoscopists (AAGL) Global Congress of Minimally Invasive Gynecology, Washington,
    D.C. November 2017.

17. Pelvic Pain, Modern Workup and Management. Annual Update in Obstetrics and Gynecology Course. The Brigham
    and Women’s Hospital. March 2017,

18. Pelvic Pain Workshop: Case Based Practical Pearls. Annual Update in Obstetrics and Gynecology Course. The Brigham
    and Women’s Hospital. March 2017.

19. Perioperative Pain Management to Reduce Acute and Chronic Postoperative Pain. Society of Laparoendoscopic
    Surgeons. Minimally Invasive Surgery Week Boston, MA. September 2016.

20. New Vulvodynia Treatment options. ASCCP Annual Scientific Meeting. New Orleans, LA. April 2016.

21. Gynecologic Surgery for the General Surgeon. University of Kansas Medical Center. Kansas City, KS. December 2015.

22. Chronic Pain after Hysterectomy: Patient Predictors and Risk Assessment. Society of Laparoendoscopic Surgeons.
    Minimally Invasive Surgery Week. New York, NY. September 2015.

23. Psychological Aspects of Chronic Pelvic Pain. American Gynecological & Obstetrical Society. San Francisco, CA.
    September 2015.

24. Gynecologic Surgery for the General Surgeon. University of Kansas Medical Center. Kansas City, KS. December 2014.

25. Sacral Neuromodulation: The Next Big Thing in Complex Gynecologic Pain Syndrome. Pain Society of the Carolinas.
    Charleston, SC. December 2014.

26. Endometriosis and Pain. Society of Laparoendoscopic Surgeons. Minimally Invasive Surgery Week. Las Vegas, NV.
    September 2014.

27. Gynecologic Surgery for the General Surgeon. University of Kansas Medical Center. Kansas City, KS. December 2013.

28. Dysmenorrhea: A Cyclic Chronic Pain Syndrome. Department of Obstetrics and Gynecology/Mayo Clinic. Rochester,
    MN. November 2012.

Regional
1. Targeted Myofascial Pain Management. Area Health Education Center (AHEC) Conference. Cone Health. March 15,
   2023.

                                                                                                         18 | P a g e
Case 5:21-cv-00056-LGW-BWC Document 124-3 Filed 12/19/23 Page 37 of 136
            Case 5:21-cv-00056-LGW-BWC Document 124-3 Filed 12/19/23 Page 38 of 136

                                                 Assistant Professor, Dept of OBGYN
Jacqueline Wong, MD              2019 – 2021
                                                 Oregon Health Sciences University

Paul Tyan, MD MSCR               2018 – 2020     Capital Women’s Care Ashburn-VA

                                                 Assistant Professor, Dept of OB/GYN
Noor Abu-Alnadi, MD MSCR         2017-2019
                                                 University of North Carolina, Chapel Hill, NC
                                                 Assistant Professor, Dept of OB/GYN
Mitch Dizon, MD MSCR             2016 - 2018     University of Tennessee College of Medicine,
                                                 Chattanooga, TN
                                                 Assistant Professor, Dept of GYN
Michelle Louie, MD MSCR          2015 - 2017     Mayo Clinic, Scottsdale, AZ


Graduate Students, UNC-Chapel Hill School of Public Health
                                                 PhD Candidate, Department of Epidemiology
Zakiya M. Haji-Noor, MPH        2021-present
                                                 UNC Gillings School of Global Public Health
                                                 PhD Candidate, Department of Epidemiology
Beltran, Theo Gabriel, MPH      2021-present
                                                 UNC Gillings School of Global Public Health
                                                 MSPH, Maternal And Child Health
Mia (Emilie) Mathura, MSPH          2022
                                                 UNC Gillings School of Global Public Health
                                                 PhD, Department of Epidemiology
Maya Wright, MPH, PhD            2020 - 2022     SHEPS Center Health Services Research Fellow
                                                 UNC Gillings School of Global Public Health
Denali Dahl, MS, PhD             2018 - 2022     PhD, Biomedical Engineering, UNC and NC State

                                                 PhD-Nursing, UNC
Martha Grace Cromeens, JD,                       Postdoctoral Fellow-Center for Enhancing Quality of
                                 2018 - 2021
BSN, RN, PhD                                     Life in Chronic Illness (CEQL)
                                                 Indiana University School of Nursing

OB-GYN Residents, Obstetricians and Gynecologists and Medical Students
                                                 UNC resident; Current 2nd year fellow, UNC
Gina Silverstein, MD             2020—2022
                                                 UNC resident; Current 1st year REI fellow-
Austin Johnson, MD              2022-present
                                                 University of Washington
                                                 Rutgers resident; Current 1st year fellow
Caroline Kwon                   2021-present
                                                 4th year UNC OBGYN resident
Ayana Degaia, MD MPH            2020—present
                                                 4th year UCSD resident
Renee Sullender                 2022-present
                                                 Vanderbilt Univ Med Ctr-TN resident
Julie Cui                        2018-2019
                                                 Obstetrician and Gynecologist
Caroline Cassling, MD            2015 – 2019     MaineHealth
Carolyn Vu                       2014-2016       University of Kansas School of Medicine

David Nelson                     2014-2016       University of Kansas School of Medicine




                                                                                                       20 | P a g e
Case 5:21-cv-00056-LGW-BWC Document 124-3 Filed 12/19/23 Page 39 of 136
         Case 5:21-cv-00056-LGW-BWC Document 124-3 Filed 12/19/23 Page 40 of 136
                         An introduction and how to guide. Submitted to
                         50th AAGL Global Congress on Minimally
                         Invasive Gynecology. Austin, TX. November 14-
                         17, 2021. Video abstract.
                         6. Wong JMK, McClurg A, Carey ET#. Levator
                         ani trigger point injections and chemodenervation
                         with onabotulinum toxin A (Botox): An
                         introduction and how to guide. Submitted to 50th
                         AAGL Global Congress on Minimally Invasive
                         Gynecology. Austin, TX. November 14-17, 2021.
                         Video abstract.
                         7. Wong JMK, McClurg A, Carey ET#. Pudendal
                         nerve blocks: An introduction and how to guide.
                         Submitted to 50th AAGL Global Congress on
                         Minimally Invasive Gynecology. Austin, TX.
                         November 14-17, 2021. Video abstract.

                         Project (thesis)                                    1. Tyan P, Taher A, Carey
Paul Tyan, MD
                         ▪Trends and Perioperative Outcomes Across           ET^, Amdur R, Sparks A,
07/18 – 6/20             Elective Benign Hysterectomy Procedures from        Tamim H, Gu A, Wei C,
▪ 2nd year fellow, UNC   the ACS-NSQIP 2007-2017. Manuscript in              Moawad G. The Effect of
                         progress.                                           Anemia Severity on
                                                                             Postoperative Morbidity
                         Presentations                                       Among Patients Undergoing
                         1. Carey ET, Tyan P. Pelvic Pain Targeted           Laparoscopic Hysterectomy
                              Physical Exam. 48thAmerican Association of     for Benign Indications. Acta
                              Gynecologic Laparoscopists (AAGL) Global       Obstetricia et Gynecologica
                              Congress of Minimally Invasive Gynecology;     Scandinavica (AOGS) Acta
                              Vancouver, BC Canada. November 2019.           Obstet Gynecol Scand. 2020
                         2. Tyan P, Taher A, Carey ET, Messersmith C,        Jan; 99(1):112-118. PMID:
                              Robinson H, Vargas M, Moawad G. Effect of      31449328.
                              Perioperative Transfusion on Postoperative     2. Tyan P, Taher A, Carey
                              Morbidity Following Minimally Invasive         ET^, Amdur R, Messersmith
                              Hysterectomy For Benign Indications. Society   C, Robinson H, Gu A, Vargas
                              of Gynecologic Surgeons (SGS) 45th Annual      M. Moawad G. Effect of
                              Scientific meeting, Tucson, AZ, March 2019.    Perioperative Transfusion on
                         3. Carey ET, Moore KJ, Jones H, Tyan P, Al-         Postoperative Morbidity
                              Jumaily M, Dieter AA. Racial Disparities in    Following Minimally Invasive
                              Hysterectomy Route for Benign Disease:         Hysterectomy for Benign
                              Examining trends from 2007-2018 using the      Indications. J Minim Invasive
                              NSQIP database. 49thAmerican Association of    Gynecol. 2019 Mar 28. PMID:
                              Gynecologic Laparoscopists (AAGL) Global       30930213
                              Congress of Minimally Invasive Gynecology;     3. Tyan P, Carey ET#.
                              Virtual. November 2020.                        Physiological Response to
                         4. Tyan P, Taher A, Carey ET, Messersmith C,        Opioids. Clinical Obstetrics
                              Robinson H, Vargas M, Moawad G. Effect of      and Gynecology. 2019
                              Perioperative Transfusion on Postoperative     Mar;62(1):11-21. PMID:
                              Morbidity Following Minimally Invasive         30668556.
                              Hysterectomy For Benign Indications. Society   4. Tyan P. Carey ET. An
                              of Gynecologic Surgeons (SGS) 45th Annual      Assessment of Minimally
                              Scientific meeting, Tucson, AZ, March 2019.    Invasive Gynecologic Surgery
                                                                             Fellowship Programs.
                                                                             Submitted to Journal of
                                                                             Surgical Education 3/06/2020.




                                                                                                             22 | P a g e
         Case 5:21-cv-00056-LGW-BWC Document 124-3 Filed 12/19/23 Page 41 of 136
                             Project:                                              1. Clark N~, Maghsouldou P,
Nisse Clark, MD MPH
                             ▪ To assess the efficacy of a superior hypogastric    Moore K, North A, Mobolaji
07/17-06/19                  plexus block (SHPB) for pain relief following         A, Einarsson J, Louie M,
                             laparoscopic hysterectomy                             Schiff L, Moawad G, Cohen S,
 Brigham & Women’s                                                                Carey ET#. Superior
    MIGS Fellow 07/17-       Presentations                                         hypogastric plexus block for
    06/19                    1. Nisse V. Clark MD MPH, Parmida                     pain relief after laparoscopic
                             Maghsouldou, Kristin Voltzke, Alexandra North,        hysterectomy: A Randomized
                             Mobolaji O. Ajao MD MPH, Jon I. Einarsson MD          Controlled Trial. Obstet
                             PhD MPH, Michelle Louie MD MSCR, Lauren               Gynecol. 2021 Apr
                             Schiff MD, Gaby Moawad MD, Sarah L. Cohen             1;137(4):648-656. PMID:
                             MD MPH, Erin T. Carey, MD, MSCR. Oral                 33706344
                             Presentation. Superior hypogastric plexus block for
                             pain relief after laparoscopic hysterectomy: A
                             randomized controlled trial. 48thAmerican
                             Association of Gynecologic Laparoscopists
                             (AAGL) Global Congress of Minimally Invasive
                             Gynecology; Vancouver, BC Canada. November
                             2019.
                             Project (thesis)                                      1. Abualnadi N, Moore K,
Noor Abu-Alnadi, MD
                             ▪Preoperative predictors of myofascial pain in        Frame B, Carey ET#.
MSCR
                             hysterectomy patients.                                Myofascial Pain in
07/17-06/19                                                                        Hysterectomy Patients.
 Graduated UNC 2019         Presentations                                         Submitted to Journal of
 Assistant Professor, UNC   1. Abualnadi N, Carey ET. Preoperative predictors     Minimally Invasive
                             of myofascial pain in patients undergoing             Gynecology 4/10/21. 19 pages
                             hysterectomy. 47th AAGL Global Congress on            including title
                             Minimally Invasive Gynecology. Las Vegas, NV.         page/abstract/references.
                             Nov 2018.
                             2. Abualnadi N, Carey ET. Preoperative predictors
                             of myofascial pain in patients undergoing
                             hysterectomy. 2019 ACOG Annual Clinical and
                             Scientific Meeting. Nashville, TN May 2019.
                             Project (thesis)                                      1.Dizon AM, Carey ET.
Mitch Dizon, MD MSCR
                             ▪Evaluation of venous thromboembolism in              Minimally invasive
07/16 – 06/18                minimally invasive and open myomectomy using          gynecologic surgery in the
 Graduated UNC 2018         the NSQIP database.                                   pregnant patient:
 Assistant Professor,                                                             considerations, techniques,
 University of              Presentations:                                        and postoperative
    Tennessee-Chattanooga    1. Dizon M, Strassle P, Carey ET. 30-Day              management per trimester.
                             Incidence of Complications and Readmission after      Curr Opin Obstet Gynecol.
                             Open Myomectomy. 47thAmerican Association of          2018 Aug:30(4):267-271.
                             Gynecologic Laparoscopists (AAGL) Global              PMID: 29889668.
                             Congress of Minimally Invasive Gynecology; Las        2.Louie M, Strassle PD,
                             Vegas, NV November 2018.                              Moulder JK, Dizon AM,
                             2. Carey ET, Strassle P, Dizon M. 30-Day              Schiff LD, Carey ET. Uterine
                             Incidence of Complications and Readmission after      weight and complications after
                             Abdominal Hysterectomy. 47thAmerican                  abdominal, laparoscopic, and
                             Association of Gynecologic Laparoscopists             vaginal hysterectomy. Am J
                             (AAGL) Global Congress of Minimally Invasive          Obstet Gynecol. 2018 June 27.
                             Gynecology; Las Vegas, NV November 2018.              PMID: 29959931.
                             3. Misal M, Louie MY, Dizon AM, Carey ET,
                             Siedhoff MT. Evaluating rates of UTI after post-
                             hysterectomy cystoscopy with D50. Poster
                             presentation at the Society of Gynecologic
                             Surgeons (SGS) 2018 44rd Annual Scientific
                             Meeting. Orlando, FL. March 11-14, 2018.
                             4. Dizon AM, Strassle PD, Schiff LD, Louie M,
                             Carey ET, Moulder JK. Effect of body mass index

                                                                                                                    23 | P a g e
         Case 5:21-cv-00056-LGW-BWC Document 124-3 Filed 12/19/23 Page 42 of 136
                             on reoperation following hysterectomy. Oral
                             presentation at the 46th AAGL Global Congress on
                             Minimally Invasive Gynecology. National Harbor,
                             MD. Nov 12-16, 2017.
                             5.Louie M, Strassle PD, Moulder JK, Dizon AM,
                             Schiff LS, Carey ET. Correlation between uterine
                             weight and postoperative outcomes following
                             hysterectomy. Scientific virtual poster at the 46th
                             AAGL Global Congress on Minimally Invasive
                             Gynecology. National Harbor, MD. Nov 12-16,
                             2017.
                             6.Schiff LS, Strassle PD, Dizon AM, Carey ET,
                             Moulder JK, Louie M. Effect of length of stay on
                             postoperative infection and readmission following
                             minimally invasive hysterectomy. Oral
                             presentation at the 46th AAGL Global Congress on
                             Minimally Invasive Gynecology. National Harbor,
                             MD. Nov 12-16, 2017.
                             7. Carey ET, Strassle PD, Louie M, Dizon AM,
                             Moulder JK, Schiff LS. Effect of endometriosis on
                             urogenital fistula risk following hysterectomy.
                             Scientific virtual poster at the 46th AAGL Global
                             Congress on Minimally Invasive Gynecology.
                             National Harbor, MD. Nov 12-16, 2017.
                             8.Moulder JK, Strassle PD, Louie M, Carey ET,
                             Schiff LS, Dizon AM. Association of body mass
                             index and complications following hysterectomy.
                             Oral presentation at the 46th AAGL Global
                             Congress on Minimally Invasive Gynecology.
                             National Harbor, MD. Nov 12-16, 2017.
                             9.Dizon AM, Barber EL, Louie M, Moulder JK,
                             Schiff LD, Carey ET. Venous thromboembolism
                             in minimally invasive and open myomectomy.
                             Poster presentation at the Society of Gynecologic
                             Surgeons (SGS) 2017 43rd Annual Scientific
                             Meeting. San Antonio, TX. March 26-29, 2017.

                                                                                   1. Louie M, Strassle P,
Michelle Louie, MD           Project
                                                                                   Moulder JK, Dizon M, Schiff
MSCR                         ▪ Evaluation of uterine weight and risk of
                                                                                   L, Carey ET#. Uterine weight
                             hysterectomy (thesis)
07/15 – 06/17                                                                      and complications after
▪ Graduated from UNC,                                                              abdominal, laparoscopic, and
  06/17                      Presentations                                         vaginal hysterectomy. Am J
▪ Assistant Professor, UNC   1. Schiff LD, Strassle PD, Louie M, Carey ET,         Obstet Gynecol. 2018
                             Moulder JK, Dizon AM. “Effect of Length of Stay       Nov;219(5):480.e1-480.
                             on Infection and Readmission Following                PMID: 29959931
                             Minimally Invasive Hysterectomy.” Presented at
                             the 46th American Association of Gynecologic
                             Laparoscopists (AAGL) Global Congress of
                             Minimally Invasive Gynecology, Washington,
                             D.C., November 2017.
                             2. Louie M, Strassle PD, Moulder JK, Dizon AM,
                             Schiff LD, Carey ET. “Laparoscopic
                             hysterectomy has fewer complications than
                             abdominal hysterectomy regardless of uterine
                             weight: a nationwide cohort study”. Presented at
                             the Society of Gynecologic Surgeons (SGS)
                             44th Annual Scientific meeting, Orlando, FL,
                             March 2018.

                                                                                                                  24 | P a g e
Case 5:21-cv-00056-LGW-BWC Document 124-3 Filed 12/19/23 Page 43 of 136
Case 5:21-cv-00056-LGW-BWC Document 124-3 Filed 12/19/23 Page 44 of 136
          Case 5:21-cv-00056-LGW-BWC Document 124-3 Filed 12/19/23 Page 45 of 136

Denali Dahl, MS                 Grants
                                                                                    1. Dahl D‡, Whitesell A,
                                ▪ F31 Application submitted 8/02/2019 for the          Sharma-Huynh P,
04/2018 – 5/2022                                                                       Maturavongsadit P,
                                continued development of a novel, dissolvable film
▪ M.S. Global Health, Duke                                                             Janusziewicz R, Fox R,
                                for vulvodynia treatment.
  University, 2017
                                                                                       Loznev H, Dingemans
B.S. Nanoengineering, UC
  San Diego, 2015
                                Projects                                               T, Button B,
                                ▪ Development of biodissovable film for                Schorzman A, Zamboni
▪ Current PhD Student, Joint
                                vestibulodynia treatment.                              W, Ban J, Montgomery
  Department of
                                ▪ Pharmacokinetics of lidocaine film in mice           SA, Carey ET**,
  Biomedical Engineering
                                vagina.
UNC Chapel Hill & NC                                                                   Benhabbour R**. A
  State University              Presentation                                           mucoadhesive
                                1. Dahl D, Sharma P, Carey ET, Benhabbour R. A         biodissolvable thin film
▪ I served as co-mentor for     Novel Biodissolvable Film for Localized and Efficie    for localized and rapid
  her F31 Predoctoral           Treatment of Vulvodynia. UNC/NCSU BioMedical           delivery of lidocaine
  Individual National           Engineering September 2018.                            for the treatment of
  Research Service Award.       2. Dahl D, Sharma P, Carey ET, Benhabbour R. A N
  I assisted in concept         Biodissolvable Film for Localized and Efficient
                                                                                       vestibulodynia.
  development, study            Treatment of Vulvodynia. Biomedical Engineering        International Journal of
  design, and grant writing.    Society. Philadelphia October 2019.                    Pharmaceutics. 2022
                                3. Dahl D, Whitesell A, Sharma-Huynh P, Janusziew      Jan 25;612:121288.
                                R, Fox R, Loznev H, Dingemans T, Button B, Carey       PMID: 34800616
                                Benhabbour SR. A Novel Mucoadhesive Biodissolva
                                Film For Localized And Efficient Treatment of
                                Vestibulodynia. BMES 2020 Virtual Annual Meeting
                                October 14-17, 2020.
                                4. Carey ET*, Moore KJ, Dahl DK, Sharma P, Al-
                                Jumaily M, Benhabbour R. Patient preference and
                                acceptability of a novel drug delivery system for
                                vestibulodynia. International Association for the
                                Study of Pain. Amsterdam, Netherlands August
                                2021.


                                Grants                                               1. Cromeens, M.G.++,
Martha Grace Cromeens,
                                ▪ F31 Grant: Pathways to diagnosis of                Thoyre, S., Carey, E**.,
JD, BSN, RN
                                endometriosis among women of different               Knafl, K., Robinson, W.R.
03/2018 – 2022                  socioeconomic statuses and races. F31NR018786        Inquiry into women’s
▪ BSN University of North                                                            pathways to diagnosis of
                                Projects
  Carolina 2014                                                                      endometriosis: A qualitative
                                ▪ Disability claims process for endometriosis and
                                                                                     study protocol. J Adv Nurs.
                                benign gynecologic conditions
▪ J.D. South Texas College                                                           2020. Oct 27 PMID:
                                ▪Pathways to diagnosis of endometriosis: A
   of Law 2008                                                                       33107642
                                scoping review.
                                                                                     2. Cromeens MG, Carey E,
▪ I served as mentor for her                                                         Robinson W, Knafl K, Thoyre
                                Presentations:
   F31 Predoctoral                                                                   S. Cromeens, MG++, Carey,
                                1. Cromeens MG, Carey E, Robinson W, Knafl K,
   Individual National                                                               ET**, RobinsonWR, Knafl K,
                                Thoyre S. Report of a Study Protocol for a
   Research Service Award.                                                           Thoyre S. Timing, Delays and
                                Qualitative Inquiry into Women’s Pathways to
   I assisted in concept                                                             Pathways to Diagnosis of
                                Diagnosis of Endometriosis. Academy Health
   development, study                                                                Endometriosis: A Scoping
                                2020
   design, and grant writing.                                                        Review Protocol. Submitted to
                                2. Cromeens MG, Carey E, Robinson W, Knafl K,
▪ I served as a content                                                              BMJ Open 1/20/2021. 15
                                Thoyre S. Pathways to diagnosis of endometriosis:
   expert and mentor for her                                                         pages including title
                                A scoping review. Academy Health 2020
   endometriosis projects.                                                           page/abstract/references.
                                3. Cromeens, MG, Thoyre S., Knafl, K, Robinson
                                                                                     3. Cromeens, MG, Thoyre S.,
                                W, Tan KR, Carey ET. Federal Appeal Case
                                                                                     Knafl, K, Robinson W, Tan
                                Review of Social Security Disability Insurance and
                                                                                     KR, Carey ET. Federal
                                Supplemental Security Income Disability Claims
                                                                                     Appeal Case Review of Social
                                by Women with Endometriosis. Academy Health
                                                                                     Security Disability Insurance
                                2020.
                                                                                                                     27 | P a g e
          Case 5:21-cv-00056-LGW-BWC Document 124-3 Filed 12/19/23 Page 46 of 136
                             4. Cromeens MG, Thoyre S, Carey E, Robinson        and Supplemental Security
                             W, Knafl K, Thoyre S. Family Influences in         Income Disability Claims by
                             Pathways to Diagnosis of Endometriosis.            Women with Endometriosis.
                             International Family Nurses Conference. Virtual.   Manuscript in progress.
                             June 2021.




Attending on Clinical Service

2016-present    Benign Gynecology
                Active mentor during the primary gynecologic surgery rotation for the UNC residents. Responsible for
                intraoperative education in the operating room, as well as perioperative and pelvic pain education in clinic
                and during weekly preoperative conferences.

2016-present    Resident Pain Clinic
                Residents rotate through my pelvic pain clinic, learning the focused history and physical exam, as well as
                management and treatment strategies for these complex patients.

2016-present    Rotation Director for Urogenital Pain Clinic
                Urogynecology fellows rotate through my pelvic pain clinic, with a monthly clinic dedicated to urogenital
                and mesh related pain disorders. We review the literature in mesh and surgical related pain and make clinical
                decisions regarding medical and surgical options for these patients.

2017-present    Orofacial Pain Residency OBGYN Program Site Director
                Orofacial pain residents rotate through my clinic 4 sessions/year. I am responsible for the day-to-day
                supervision and oversight of resident activities during the rotation, assuring an adequate number of
                approved teaching (attending) and support staff and clinical experiences to meet educational goals in
                chronic pain management.

Grants

Active
1R43HD112277-01 Bohorquez PI, Carey Co-PI                                          6/01/2023–5/31/2024
A device to treat high-tone pelvic floor dysfunction in women
Role: Co PI
$384, 959, 0% Effort
SBIR Phase I. The goal of this project is to develop a commercial, interactive, wireless device and app for women with
high tone pelvic floor dysfunction.

NC TraCS $5-50K Pilot Award (#550KR282109) Nathan (Co-PI) Carey (Co-PI) 07/01/2022-06/01/2024
Characterizing Depression Risk and Estradiol Dynamics in Black Women Undergoing Hysterectomy with Ovarian
Preservation: A Pilot Study
Role: Co-PI
$50,000; 0% Effort
The overarching objective of this pilot application is to examine the course of depressive symptoms in Black women who
undergo hysterectomy with ovarian preservation for uterine fibroids and to preliminarily gather data on ovarian hormone
                                                                                                                28 | P a g e
          Case 5:21-cv-00056-LGW-BWC Document 124-3 Filed 12/19/23 Page 47 of 136
dynamics in this population. The rationale is that fibroids are a common and understudied source of disability in women
that disproportionately impact Black women: foundational research is needed to better understand the risk for depressive
symptoms in this disproportionately impacted group and to preliminarily explore a possible mechanism underlying this
risk.

Patty Brisben Foundation Carey (PI)                                                  07/01/2022-06/01/2024
Clinical and Histologic Effects of Vaginal Estrogen Therapy in Female-to-Male Transgender (FTM) persons
Role: Principal Investigator
The purpose of this study is to evaluate the histological characteristics of vaginal epithelium specimens in FTM persons
on long term testosterone therapy before and after local vaginal estrogen therapy.
$26,000, 0% Effort

1 P01 HD106485-01 Steve Young (PI)                                                 09/01/2021-09/14/2026
Collaborative Center to Develop Improved Diagnostic and Therapeutic Approaches to Endometriosis.
Role: Co-Investigator
$7,013,541; 7% effort
The overall goal of the Center is to create new approaches, tools, and concepts to improve understanding of the
pathophysiology of endometriosis. The approach will include the use of animal models to develop an imaging method for
early diagnosis and increase understanding of endometriosis ontogeny, characterization of metabolic and inflammatory
signatures associated with endometriosis, and investigate non-hormonal, nonsurgical treatments for endometriosis. The
integrative approach is designed to investigate the link of the pathophysiological principle of progesterone resistance with
epigenetic changes and use this information to identify potential therapeutic targets.

Wayne D. Kuni and Joan E. Kuni Foundation Doll (PI)                             04/1/2021-03/31/2024
Guidelines for Transvaginal Ultrasound In the Detection of Early Endometrial Cancer (GUIDE-EC)
Role: Co-Investigator
$1,200,000; 3% effort
A health services and community engaged project to identify a risk-based approach to evaluation for vaginal bleeding that
eliminates the racial disparity present in the current clinical guidelines.

R01HD096331-01 Nackley Neely (PI)                                                  09/11/18-5/01/24
Vestibulodynia: Understanding Pathophysiology and Determining Appropriate Treatments
a.k.a. Vestibulodynia: UPDATE.
Role: UNC Site Co-Investigator
UNC funding: $150,939; 10%
To compare efficacy of treatments in reducing pain, improving perceived physical, mental and sexual health and measure
cytokines and microRNAs in women with vestibulodynia. This work will provide insight into the mechanisms that drive
pain perception and treatment responses in women with two subtypes of vestibulodynia.

Completed
Carey (Co-PI)                                                                   7/01/2022-6/30/2023
Fund for the Future (FFTF)
Sponsor: Foundation of the AAGL
Role: Co-PI
$47,000; 0% effort
The AAGL Fund for the Future is structured to provide funding for fellows participating in the Fellowship in Minimally
Invasive Gynecologic Surgery (FMIGS) program. Grants are provided through the financial support of private donors and
industry sponsors. The goal is to promote interest in MIGS by making it possible for FMIGS sites to be partially or fully
funded each year.

NSF Award ID 2229360 Carey (PI)                                                   06/06/2022-06/05/2023
Development of a digital therapeutic device for high tone pelvic floor disorders.
NSF 21-552 Innovation Corps - National Innovation Network Teams Program (I-CorpsTM Teams)
Role: Principal Investigator
                                                                                                                29 | P a g e
          Case 5:21-cv-00056-LGW-BWC Document 124-3 Filed 12/19/23 Page 48 of 136
Participation in an entrepreneurial training program through NSF, focused on customer discovery in the development of
an interactive pelvic floor platform for the treatment of women with chronic pelvic pain.
$50,000; 0% Effort

1R01MD011680 Robinson (PI)                                                               09/26/17-06/30/22
Racial Differences in Treatment with Hysterectomy: A Multilevel Investigation
Role: Clinical Advisory Board
$1,020,055; 3% effort
This grant seeks to quantify the extent to which the clinical threshold for hysterectomy varies by race and/or ethnicity, and
whether minority patients are differentially likely to be treated by low-volume providers and practices with a high propensity
to perform hysterectomy. We will also seek to identify drivers of the dissemination of bilateral salpingectomy with ovarian
retention at the time of hysterectomy, and the extent to which this dissemination varies by race and/or ethnicity.

Carey (Co-Investigator)                                                            7/01/2020-12/31/2021
UNC Center for Health Innovation’s 2020 Innovation Pilot Award
Evaluation of Endometriosis with 18F-fluoroestradiol PET/MRI
Role: Co-Investigator
$50,000; 0% effort
Endometriosis occurs when the endometrium, the normal lining tissue of the uterus that provides menstrual flow, grows in
the pelvic cavity. It affects 10-15% of reproductive aged women, yet the only definitive way to diagnose the disease with
through surgery and histologic confirmation. This grant will be used to test a non-invasive approach for identifying
endometriosis in women with disease.

1F31 NR018786-01 Cromeens PI                                                            7/2019-6/2021
Pathways to Diagnosis of Endometriosis among Women of Different Socioeconomic Statuses and Races
Role: Content expert and dissertation committee member
0% effort
This study will apply a life course perspective to a diverse sample of women, to examine patient behavioral and
environmental factors influencing symptom recognition, health maintenance and help-seeking so that we might better
understand the pathways to diagnosis experienced by women with endometriosis. Aim 1 proposes to map pathways to
diagnosis using qualitative interviews and analysis informed by a life course perspective through two sub-aims: (1)
describing pathways and experiences of the women’s symptom recognition, appraisal and management and (2) identifying
differences in pathways and experiences among a socio-economically and racially diverse group of women.

                                                                                      10/17/20-10/16/21Carey/Wong (PI)
NC TraCS/ NIH Clinical and Translational Science Award (CTSA)
# 2KR1322008
An investigation of the association between surgeon sex and laparoscopic device ergonomic strain in gynecologic surgery
Role: Mentor
$2,000; 0% effort
Pilot study to evaluate energy and assess surgeon and trainee fatigue when using laparoscopic instruments. The hypothesis
is that gender plays a substantial role and that female surgeons develop more discomfort utilizing laparoscopic
instruments, leading to pain, injury, and reduced productivity. We will use novel methods for assessing fatigue

Carey (PI)                                                                            7/01/2019-6/30/2020
UNC Center for Health Innovation’s 2019 Innovation Pilot Award
A Novel Drug-Delivery System for the Treatment of Vestibulodynia
Role: PI
$50,000; 0% effort
Vestibulodynia (VBD) is a very common cause of sexual pain of reproductive aged women in the United States. One of
the first-line treatments for VBD, topical lidocaine 5% ointment, cream or gel, is difficult to apply due to the content and
lack of a directed delivery system. Innovative vestibule medication delivery systems are needed to permit longer, directed
therapy. This project will be the first to apply a mucoadhesive biodissovable film technology to the vulvar vestibule.

                                                                                                                 30 | P a g e
          Case 5:21-cv-00056-LGW-BWC Document 124-3 Filed 12/19/23 Page 49 of 136
5113082 Carey (PI)                                                                4/01/2019-6/30/2019
Fund for the Future (FFTF)
Sponsor: Foundation of the AAGL
Role: PI
$47,000; 0% effort
The AAGL Fund for the Future is structured to provide funding for fellows participating in the Fellowship in Minimally
Invasive Gynecologic Surgery (FMIGS) program. Grants are provided through the financial support of private donors and
industry sponsors. The goal is to promote interest in MIGS by making it possible for FMIGS sites to be partially or fully
funded each year.



PROFESSIONAL SERVICE

To Discipline

American Association of Gynecologic Laparoscopists (AAGL)

2019-2020       Enhanced Recovery after Minimally Invasive Surgery (ERAMis) Task Force
                Invited group of MIS thought leaders to review the literature of Enhanced Recovery Pathways specific to
                MIS. Tasked with writing MIS recommendations to be published and presented at the annual AAGL
                meeting 11/2019. White Paper published in JMIG 2020.

2018-present    Member- The AAGL Professional Education Committee.
                This group oversees the educational activities of the AAGL, monitoring the extent to which educational
                objectives are being met in the sponsored courses, the quality of the instructional process, and the faculty’s
                knowledge and presentation skills. The group is also responsible to assess the participants’ perception of
                enhanced professional effectiveness and evaluate the audience for perceived commercial bias in
                presentations.

2017-present    Member- Scientific Program/Global Congress Committee - Abstract & Video
                Review. The AAGL: Elevating Gynecologic Surgery.

2008-present    Association Member

American Gynecological & Obstetrical Society (AGOS)

2023-present    Member

American College of Obstetricians and Gynecologists

2015 –present Fellow (FACOG)

2006-present    Member

Fellowship of Minimally Invasive Gynecologic Surgery

2021-present    Vice President – Executive Board of Fellowship of Minimally Invasive Gynecologic Surgery Board
                for the AAGL (4-year position)
                Responsible for executive functions and development of the fellowship, including movement towards
                ACGME accreditation.

2019-2022       Chair -FMIGS Curriculum Standardization Committee (3-year position)


                                                                                                                 31 | P a g e
          Case 5:21-cv-00056-LGW-BWC Document 124-3 Filed 12/19/23 Page 50 of 136
                  Responsible for updating the FMIGS didactic curriculum for the fellows, including journal articles and
                  associated video topics.

2019-present      Member-FMIGS Curriculum Vision Task Force
                  Dedicated to the restructuring of the fellowship curriculum to align with ACGME requirements.

2018-2020         Director-At-Large- Fellowship of Minimally Invasive Gynecologic Surgery Board for the AAGL (2-
                  year position)
                  Responsible for representing fellowship program directors on the FMIGS Board.

2018-2021         Member-FMIGS Quality Improvement Committee (3-year position)
                  Coordinating quality improvement education and projects for participating fellowships across the nation.

2018-2019         Member- FMIGS Curriculum Standardization Committee


International Pelvic Pain Society

2023-present      Immediate Past-President

2021-2022         President

2020-2021         Vice President

2019-2020         Treasurer
                  Executive Board position of the IPPS, responsible for organization, growth, and annual conference planning
                  for the society. The Treasurer role additionally encompasses the financial governing and management of
                  the society.

2018-2019         Secretary
                  Executive Board position of the IPPS responsible for organization, growth, and annual conference planning
                  for the society.

2016-present      Member- Scientific Program Committee - Abstract review

2015–present      Board Member

2010-present      Society Member


Editorial Board

2020-present      Journal of Gynecologic Surgery

Peer Reviewer

2020-present      Journal of Gynecologic Surgery

2018-present      Obstetrics & Gynecology

2013–present Journal of Minimally Invasive Gynecologic Surgery

Miscellaneous


                                                                                                               32 | P a g e
          Case 5:21-cv-00056-LGW-BWC Document 124-3 Filed 12/19/23 Page 51 of 136
2012-2014       Panelist- Contemporary OB/GYN’s Panel of Emerging Experts

11/2011         ABC News Correspondent-20/20 News Program, "Giving Life: A Risky Proposition"
                Freetown, Sierra Leone

At UNC

2016-present    Division Director for MIGS
                Oversee the Division at UNC campuses.

2016-present    Member- Enhanced Recovery Leadership Committee
                Anesthesia and Surgical collaborative group, responsible for supporting ERAS programs within UNC.

2018-2019       Academic Career Leadership Academy in Medicine (ACCLAIM).
                UNC-Chapel Hill School of Medicine
                A yearlong intensive program that meets weekly for 2-hours focusing on leadership and career
                development opportunities for junior faculty members.

Research Statement
Vestibulodynia (VBD) is the most common cause of sexual pain, affecting 10 to 28% of reproductive aged women in the
United States, yet remains ineffectively treated by standard trial-and-error approaches. The pain is chronic, lasting over 3
months, and compromises psychological functioning, interpersonal relations and daily activity. As further evidence of its
public health significance, VBD and related vulvar pain conditions cost the US economy over $70 billion annually. Two
distinct VBD subtypes that may benefit from different types of treatment have been described: 1) VBD peripheral (VBD-
p) subtype characterized by localized pain specific to the vulvar vestibule, and 2) VBD central (VBD-c) subtype
characterized by pain at both vaginal and remote body regions. Sensitization of the peripheral vestibular nerves has been
suggested as a possible pain mechanism vulvodynia.

Currently available topical 5% lidocaine has been highlighted as an effective treatment for VBD, however the inability to
apply the topical treatment to the vulvar vestibule and short duration of treatment have limited therapeutic options. Systemic
medications are often used, with varying outcomes and a noteworthy side effect profile. There have been no drug delivery
developments in the symptomatic treatment of vestibular pain. In fact, one of the most extreme treatments of VBD is surgical
removal of the vulvar vestibule, including the surrounding perineal skin, the mucosa of the posterior vulvar vestibule and
the posterior hymenal ring. The vagina must then be undermined and advanced to close the defect. Reported success from
this intervention is higher than other treatment options available, 60-90% success, however complications and risk of
surgical intervention limit its standing as first or second line treatment. Surgical management of VBD is an option for
management once less invasive treatment options have been employed. Due to limited research in the etiology, prevention,
diagnosis and effective treatments in vulvodynia, the Eunice Kennedy Shriver National Institute of Child Health and Human
Development (NICHD) has made research in vulvodynia a priority.

Major knowledge gaps in the diagnosis and management of VBD has provided a significant opportunity for high quality
and impactful research. I have published on the limited pharmacological options for women with neuropathic and chronic
pelvic pain. I have also highlighted the dangers of chronic opioid use in reproductive aged women. In my research career,
I have focused on addressing these gaps through innovative multidisciplinary research and novel collaborative efforts. In
this Research Statement, I will focus on my primary research and collaborations, and I will discuss my research mentoring
and fellow education in the Teaching Statement.

The lack of phenotypic descriptors of vulvar pain disorders has driven me towards mentorship and guidance from the world’s
most eminent pain researchers. My interest in female pelvic and sexual pain disorders originated in residency, with a strong
desire to care for women debilitated by pain. In fellowship at UNC, I was trained in minimally invasive gynecologic surgery
(MIGS) and the management of pelvic pain, while concomitantly enrolled in the Master of Science in Clinical Research
program through the UNC Department of Epidemiology. Following surgical fellowship, I elected to stay on an additional
year as part-time faculty in the Division of MIGS while also participating as a fellow in pain medicine through the

                                                                                                                 33 | P a g e
          Case 5:21-cv-00056-LGW-BWC Document 124-3 Filed 12/19/23 Page 52 of 136
Department of Anesthesiology. This year focused on refining my clinical management of chronic pain disorders of the
pelvis, as well as applying anesthesia techniques and guided blocks to the nerves in the vagina and vulva. During my training
at UNC, I collaborated on projects with the Division of Pain Medicine and with the Center for Neurosensory Disorders
(CNSD) under the direction of Dr. William Maixner, specifically in regards to neurosensory disorders of the female pelvis.
His transition to the Duke School of Medicine facilitated collaboration with Dr. Andrea Nackley in the Center for
Translational Pain Medicine. Dr. Nackely is the PI of The Vestibulodynia: Understanding Pathophysiology and Determining
Appropriate Treatments (UPDATe) Study. This is a multi-center randomized, double-blinded phase II clinical trial between
Duke, UNC, and University of California- Los Angeles (UCLA) to determine the effectiveness of currently available
treatment options for women with VBD as well as phenotyping patients. I serve as one of the two Co-PIs at UNC with Dr.
Elizabeth Geller in the Division of Urogynecology. Dr. Geller and I also lead the UNC Urogenital Pain Clinic.

The common conceptual theme of my research experience to date has been focused on chronic pelvic pain conditions. There
is a clear evolution in my work from residency and fellowship to my ongoing projects and collaborations. Throughout
residency, I expressed a strong interest in gynecologic disorders, prompting my fellowship in minimally invasive
gynecologic surgery. The theme of my research in residency and early fellowship focused on postoperative complications
and surgical risk. It continued into my faculty practice where we have closely weighed the risk vs benefit of minimally
invasive surgery. Using available case-specific data at UNC, we found that even for large uteri, a minimally invasive surgical
approach is safer than an abdominal approach.

In residency, I performed a retrospective chart review evaluating the timeline of a postoperative venous thromboembolism
(VTE) in women with gynecologic cancer, identified the majority of VTE as being detected more than one week
postoperatively and associated factors including history of VTE, ovarian cancer and prolonged hospitalization. I initiated a
project describing the pathologic findings of uteri after failed global endometrial ablation (failures secondary to irregular
bleeding or pelvic pain). This study identified that women who underwent hysterectomy for pain after an endometrial
ablation were more likely to have hematomata identified on pathologic specimen, even without imaging abnormalities.

Finally, a retrospective chart review was performed identifying the effect of morbid obesity on intraoperative complications.
We identified an association with increasing BMI and worse complication severity, as well as longer operating time and
increased blood loss. These studies provided an introduction to research methodology, as well as basic analysis and data
interpretation. Active research queries utilizing the National Surgical Quality Improvement Program include evaluation of
VTE after myomectomy and intestinal obstruction after hysterectomy. At UNC, I have further developed this research
interest and collaborated clinically with Dr. Whitney Robinson on her R01, evaluating racial disparities and hysterectomy
outcomes.

While pre-existing pain conditions are a leading cause for gynecologic surgery, pain persisting after a surgical procedure or
the development of a de novo pain disorder suggests additional factors beyond the acute peripheral injury of surgery. The
implementation of enhanced recovery pathways may reduce acute and chronic postsurgical pain in patients. In women who
maintain pain or develop new pain after surgery, a heightened sensitivity of the central nervous system, called central
sensitization, as well as psychosocial factors, may be contributory. We found that catastrophization was associated with
women who continued to have pain, despite surgical management of endometriosis. This project was my first exposure to
the review and analysis of validated psychological and pain measures. The objective of the latter project was to identify
causes of sexual pain following hysterectomy, based on a literature review and expert opinion.

Postoperative pain control is an area of active investigation, as inadequate pain management can lead to an increased length
of stay, readmission, chronic pain and opioid dependence. Superior hypogastric plexus block (SHPB) or presacral nerve
block is another method that has shown promising results in patients undergoing abdominal hysterectomy. This, however,
has not been evaluated in patients undergoing laparoscopic hysterectomy. In collaboration with Brigham and Women’s
Hospital and George Washington University, we conducted a multi-center single-arm randomized clinical trial to evaluate
postoperative pain scores and opioid consumption. In minimally invasive hysterectomy, we did not find a difference in pain
scores or opioid use after surgery with a plexus block. We are currently evaluating risk factors, including psychological risk
factors, for persistent opioid use after hysterectomy in women, specifically with pre-existing depression, using a large
private national claims database, MarketScan.



                                                                                                                 34 | P a g e
          Case 5:21-cv-00056-LGW-BWC Document 124-3 Filed 12/19/23 Page 53 of 136
My research has also involved the development of a novel drug-delivery system for the treatment of VBD. I have
collaborated with Dr. Rahima Benhabbour, an Assistant Professor through the UNC/NCSU Joint Department of Biomedical
Engineering (BME) and Adjunct Associate Professor, UNC Eshelman School of Pharmacy and Center for Nanotechnology
in Drug Delivery (CNDD). We have developed a mucoadhesive biodissolvable lidocaine film, an innovative approach for
localized and efficient treatment of VBD. We received the UNC Center for Innovation’s Innovation Pilot Award in 2019
and have optimized the film, identifying two formulations prepared for animal studies. As the project ends in the spring of
2020, we will have completed the mice pharmacokinetics and safety data for the vestibular film.

In a continued effort to treat patients with nonopioid pain therapies, the NIH has a major program known as HEAL (Helping
to End Addiction Long-term) Initiative. Additionally, the NINDS has developed a Preclinical Screening Platform for Pain
(PSPP) to move forward the discovery of novel, nonopioid treatments for pain. The group is designed to identify effective
pain treatments and then accelerate preclinical studies. The intellectual property is protected through confidentiality
agreements, and the data is provided to the investigators at the end of the study. We presented our early findings to the
PSPP group in January 2020, with a positive response and are moving forward with confidentiality agreements for our film
development.
Through my research, I have had the opportunity to be involved nationally in different academic endeavors. For our national
organization, the American Association of Gynecologic Laparoscopists (AAGL) I have served as a scientific session
moderator, abstract and grant reviewer, and am a member of the Quality Improvement committee. I am also the Pelvic Pain
Special Interest Group Chair in the AAGL. I am on the board of the International Pelvic Pain Society (IPPS) and am its
Treasurer. I have also been the scientific program director of IPPS from 2016-2019. In addition, I conduct regular manuscript
reviews for Obstetrics and Gynecology and the Journal of Minimally Invasive Gynecologic Surgery.
Since joining the UNC faculty in March 2016, I have dedicated myself to building the division’s research infrastructure and
mentoring trainees. I serve as the Fellowship Director of MIGS, as well as the Research Director. I work closely with our
research assistant and research nurse, and oversee all projects and deadlines. I am also responsible for ensuring that our
fellows achieve their research goals.

I have successfully established a number of multi/interdisciplinary collaborations critical to advancing the science of female
pelvic pain disorders. Beyond my UNC relationships, I have also developed collaborations with investigators at other
institutions, including Duke University, University of Michigan, Brigham and Women’s Hospital and George Washington
University.
I am thrilled to continue my robust clinical and translational projects in collaboration with my teams at UNC and beyond.
Pelvic, sexual and postoperative pain are highly prevalent disorders that affect quality of life measures in women. In
addition, I will continue to motivate and inspire the next generation of trainees to advance women’s health research.


Teaching Statement
As a clinical scientist, teaching comes in a variety of situations, with different learners along the way. Clinically, we teach
our patients daily about their disease processes and treatment options, empowering them to make shared clinical decisions
about their care. Academic medicine allows me to teach the best and the brightest, from medical students to residents to
fellows. We work and learn together, at the bedside, in the operating room, through formal didactics and via mentoring and
teaching the detailed process of research. As the Fellowship and Research Director in the Division of Minimally Invasive
Gynecologic Surgery (MIGS), I am also actively involved with mentoring all levels of learners, from our research assistant
to our junior faculty members. My role is to guide the team with research interests, but also develop and grow their personal
and career interests. My teaching philosophy is based in experiential learning and individual, paced development.
Experiential learning is the basis of medical training - the old philosophy of ‘see one, do one’ is not lost, but it cannot be
the only component of education. Combining experience with focused personal development results in the best education
outcomes.

Clinical Education
Direct patient care is the most under-recognized area of teaching in academia. I serve as a core gyn clinical faculty for
medical students on their OB-GYN rotation and regularly have students in my clinic. While they participate in patient care,
they first watch the history and physical exam. They watch me explain chronic pain disorders to the patient, and educate
                                                                                                                  35 | P a g e
           Case 5:21-cv-00056-LGW-BWC Document 124-3 Filed 12/19/23 Page 54 of 136
and empower her in the management of her illness. They watch me perform an intimate exam that reproduces the women’s
pain. They watch me counsel a woman and her partner on the forgotten emotional components of sexual pain. But after this,
the medical students and residents have the opportunity to learn the detailed history of pelvic and sexual pain. I explain the
nuances of the detailed pelvic examination for pain, using a diagram and a model. I demonstrate how to perform the exam
on a patient. When the learner is comfortable, I allow them to perform the exam while I guide them through the process.
We review the exam with directed feedback and suggestions for improvement. Surprisingly, my patients love having
learners participate in their visits. Even though the topics and exams are intimate, the significant need for providers to be
educated in female pain disorders is overwhelming. Most patients are thrilled to teach young doctors about how to diagnose
and treat pelvic and sexual pain.
Education in the Operating Room
As a surgeon, the operating room is the prime location for hands-on education. I actively engage all levels of learners and
tailor my teaching to their needs. Many cases have multiple learners, which is a challenge for an educator. It is a dynamic
process, assessing needs of the learners and appropriately devoting time to all team members. This ‘needs assessment’ is
being performed with the ultimate goal of a safe and efficient surgical procedure. An example of this will be to review
operating room etiquette with the medical student, teach them how to scrub, prep, and drape the patient and place the foley
catheter and uterine manipulators. Once these skills are learned, they can move forward to more advanced skills, such as
suturing or camera manipulation. With residents and fellows, I first gauge their previous experience and ask them where
they want to focus their primary learning for the case. An example would be a resident who has limited experience with
hysterectomy, and would like to focus on port placement, surgical effiencies and cuff closure. In the same case, the fellow
may want to hone their retroperitoneal dissection, finding the ureter and isolating the uterine artery at its origin. We utilize
pre-surgical goal setting, post-surgical debriefing and a formal case evaluation through using a ‘myTIP’ report. This report
provides direct, documented feedback to the resident/fellow and their Program Director. While trainees integrate
information and advance their surgical skills at difference paces, the desirable outcome is the same. Maintaining open
dialogue and responding to learner feedback is imperative to this process.
Didactic Education
While I am a clinician at my core, formal didactic sessions provide an important adjunct to bedside/operating room
education. I have presented educational topics at national, regional and local settings, thereby reaching a wide variety of
learners. Since 2016, I have provided formal sessions to medical students, residents and fellows. Since 2016, I have
collaborated with pain medicine and an anatomist to provide a Multidisciplinary Pelvic Pain Lecture to the UNC medical
students. I was the Course Director for the International Pelvic Pain Society’s Basics Course from 2013-2015, creating the
scientific program for the premiere introductory course on chronic pelvic pain across disciplines for residents, fellows, and
faculty. I am on the board for the Fellowship of Minimally Invasive Gynecologic Surgery (FMIGS) and serve as the Chair
for Curriculum Development. I have also taught introductory research lectures at the AAGL Boot Camp, a three-day
introductory course for MIGS fellows across the country. In addition, I have been an invited speaker at numerous
departmental Grand Rounds, and I have presented at regional and national meetings as detailed in my Curriculum Vitae.
Locally, I present educational lectures to medical students, residents and fellows on a regular basis.
Research Education
Experiential learning, with an individualized approach, is at the core of research education and mentorship. I have had the
sincere privilege of assessing learners, their interests and their goals and then tailoring a plan for their research projects,
using this information to develop their career plan, as well. First, the learner develops a study question, identifies an ideal
study design for the study, prepares an IRB, collects and analyzes data, interprets the results, and finally prepares an abstract,
presentation and manuscript.
Our fellows have the opportunity to complete the Masters of Science in Clinical Research degree through the Gillings
School of Public Health. Here, they learn the basics in their classes, but then we build on their skills and teach them how
to use a statistical analysis software program so they can individually perform the analysis. I teach them how to work with
our research team, including our research assistants. I educate fellows and junior faculty on grant writing, manuscript
preparation and career development. Beyond medical students, residents and fellows, I have had the opportunity to mentor
graduate students in the UNC School of Nursing and the combined Biomedical Engineering Departments between UNC/NC
State. These are examples of how my directed mentorship and individualized teaching develop the specific interests of the
learner. As noted in my CV, I have successfully guided medical students, residents, fellows and graduate students through
                                                                                                                     36 | P a g e
           Case 5:21-cv-00056-LGW-BWC Document 124-3 Filed 12/19/23 Page 55 of 136
numerous poster and oral presentations, as well as manuscript publications and grant applications. I have mentored junior
faculty in our division, our department, and in other departments across the country, on how to achieve their research and
career goals.

Career Education
Career development is an important component of the education spectrum. I have led several workshops at AAGL focused
on life after fellowship and career development. I have mentored medical students, residents, fellows, graduate students and
junior faculty on pursuing the ‘next steps’ in their career. This process includes reviewing and encouraging their individual
career goals, assisting them with the preparation of their CV and cover letters, providing letters of recommendation/support,
reaching out to colleagues regarding available positions and counseling on contract negotiations. I have developed detailed
career development plans for my junior faculty and reviewed the pathway to promotion. I am deeply invested in my team,
and committed to assisting trainee in this process, unique to academic medicine.

Summary and Future Goals
Ultimately, my long-term career goal is to significantly impact women’s health and pain management through innovative
research in pelvic and sexual pain. I will continue my collaborative efforts in the development of novel pain treatments for
female pain disorders and then translate these findings into improved clinical care. To achieve this goal, I am dedicated to
studying multiple aspects of pain - acute, chronic and postsurgical pain. Through my extensive training, I have developed
research skills and extensive multidisciplinary collaborations focused on improving female pain research. As demonstrated
in my CV, I have received internal and external project funding and shown success in mentoring learners across the
spectrum. I have achieved a strong national reputation, demonstrated by my board memberships in the FMIGS and in the
International Pelvic Pain Society (IPPS).
As my career continues to grow at the University of North Carolina at Chapel Hill, I will remain focused on educating my
patients as well as the outstanding medical students, residents, fellows and graduate students who I have the opportunity to
teach. My goal is to foster an environment ripe for the development of future clinician-scientists, and to conduct innovative
research as a leader in the field of Minimally Invasive Gynecologic Surgery.


Diversity Statement
I am deeply committed to diversity, equity and inclusion in my work, community and at home. I am grateful to practice at
our state institution, where the commitment to health care justice and equity is for all, regardless of race, ethnicity, religious
affiliation, socioeconomic status, or gender identity.
Access and Success: Within the university, I promote diversity through my service on fellow faculty and staff search
committees. In 2019 we added a diversity metric to our fellowship application to ensure we were purposefully capturing
our dedication to DEI at UNC. Nationally, as a member of the Fellowship of Minimally Invasive Gynecologic Surgery
(FMIGS) Board, we worked to improve DEI in the fellowship application by adding the race/ethnicity identification options
to allow applicants to self-identify. Additionally, FMIGS removed the photo from the application to reduce programs’
unconscious bias in the application process. I have also enjoyed participating in UNC’s First and Second Look program and
commit to participating in one program every two years.
Curriculum and Scholarship: I am dedicated to health equity, understanding that the outcomes for many disease processes
are intimately tied to social support and healthcare access. In 2017 our division absorbed the ‘resident pain clinic’, bringing
the most challenging patients directly into our clinical care regardless of payer status. Our clinic is equal access for all
patients, when previously many patients on financial assistance, no insurance or Medicaid were diverted to the resident
clinics, often delaying care to subspecialty services. This systemic change has equalized access to gynecologic pain
management and surgical intervention for our highest need patients. We are currently working on a collaboration with our
financial counselors on the development of a YouTube video designed to walk patients through completion of the charity
care application (English and Spanish). I also am proud to work as a gender-affirming provider in the Transgender Health
Program (THP)). The THP was established in 2019 to assist patients needing gender-affirming care navigate a complex
healthcare system and connect to necessary services. It serves as the primary point of contact for transgender patients and
coordinates referrals for medical, surgical, and mental health services with gender-affirming providers.
Community/Engagement: As the Minimally Invasive Gynecologic Surgery division director, I work with my division to
engage in our DEI initiatives at the division and department level. Our division has provided several community webinars

                                                                                                                     37 | P a g e
          Case 5:21-cv-00056-LGW-BWC Document 124-3 Filed 12/19/23 Page 56 of 136
on managing pelvic pain during the pandemic and we are working on another all-access webinar with the UNC Health
Foundation on uterine leiomyoma symptoms and treatment options. As the pandemic eases, we will transition these
platforms to community events to educate our patients.


Climate & Intra/Intergroup Relations: Education is key to promoting an inclusive learning and work environment. I engage
in our departments annual DEI training and annual implicit bias training and have added a bi-annual journal club on
diversity/gender/racial disparities in medicine for our fellows and residents to our journal club schedule. I have also
facilitated several research projects on access to care in the healthcare system to identify how we can continue to improve
our process.
I am committed to eliminate disparities and empower the students we educate and the patients we serve through excellence
in clinical care, education and research throughout my career at UNC.




                                                                                                              38 | P a g e
Case 5:21-cv-00056-LGW-BWC Document 124-3 Filed 12/19/23 Page 57 of 136




                           Exhibit C
                        Case 5:21-cv-00056-LGW-BWC Document 124-3 Filed 12/19/23 Page 58 of 136
                                                                     Surgical Procedures


                                                                                                                               Page From Dr.
                                   Dr. Amin Medical Records                                                    Resection of    Amin Records
     First Name       Last Name                                      D&C?      Laparoscopy?   Cystectomy?                                      Date of Procedure
                                   (From Initial Production)                                                  Hydrosalpinx?     Evidencing
                                                                                                                                  Surgery
 A                A               Amin_0004800                 Yes           No               No            No                Amin_0004809             7/19/2019
 A                A               Amin_0004800                 Yes           Yes              Yes           No                Amin_0004837             3/14/2019
                                                                                                                              AMIN_0006222;
 A                M               Amin_0006211                 Yes           Yes              No            No                                         1/11/2020
                                                                                                                              AMIN_0006216
 A                A               Amin_0004650                 Yes           Yes              Yes           No                Amin_0004673             8/16/2019
 M                A               Amin_0004321                 Yes           Yes              Yes           No                Amin_0004348             12/6/2019
 L                A               Amin_0005842                 Yes           Yes              Yes           No                Amin_0005883             1/17/2020
                                  Amin_0005676;
 P                B               Amin_0015754                 Yes           Yes              No            No                Amin_0005791             8/23/2019
                                  Amin_0004007;
                                  Amin_0004196;
                                  Amin_0005470;
 A                B
                                  Amin_0015599;
                                  Amin_0015618;                                                                               Amin_0004010;
                                  Amin_0015622                 Yes           Yes              No            No                Amin_0015602             3/13/2020
                                  Amin_0004413;
                                  Amin_0004753;
 S                C               Amin_0005817                 Yes           Yes              Yes           No                Amin_0004416             5/15/2020
 M                C               Amin_0004075                 Yes           Yes              Yes           No                Amin_0004085             8/14/2020
 M                C               Amin_0004352                 Yes           Yes              Yes           No                Amin_0004356              9/4/2020
 D                C               Amin_0005515                 Yes           Yes              Yes           No                Amin_0005521            10/16/2018
                                  Amin_0004780;
                                  Amin_0004465;
 C                C               Amin_0004915                 Yes           Yes              No            No                Amin_0004919             9/13/2019
                                  Amin_0004472;
 K                C               Amin_0005810                 Yes           Yes              Yes           No                Amin_0004503              4/5/2017
 D                C               Amin_0005283                 Yes           Yes              Yes           No                Amin_0005285             2/14/2020
 L                D               Amin_0009947                 Yes           Yes              Yes           Yes               Amin_0009965             5/28/2019
 K                D               Amin_0002563                 Yes           Yes              Yes           No                Amin_0002572             2/22/2020

                                                                                              No (Aspiration
 W                D               Amin_0001846                 Yes           Yes              of cysts)      Yes              Amin_0001864             1/29/2019
 D                D               Amin_0003978                 Yes           Yes              No             Yes              Amin_0003980             5/15/2020
 R                F               Amin_0002202                 Yes           Yes              Yes            No               Amin_0002215              2/7/2020
 M                F               Amin_0002093                 Yes           Yes              Yes            No               Amin_0002096             12/4/2019
 Y                F               Amin_0007494                 Yes           Yes              Yes            Yes              Amin_0007499             5/23/2019




CONFIDENTIAL                                                                                                                                      NBCU003854
                        Case 5:21-cv-00056-LGW-BWC Document 124-3 Filed 12/19/23 Page 59 of 136
                                                                     Surgical Procedures


                                                                                                                              Page From Dr.
                                   Dr. Amin Medical Records                                                   Resection of    Amin Records
     First Name       Last Name                                      D&C?      Laparoscopy?   Cystectomy?                                       Date of Procedure
                                   (From Initial Production)                                                 Hydrosalpinx?     Evidencing
                                                                                                                                 Surgery
 I                G               Amin_0002290                 Yes           Yes              Yes           No               Amin_0002294                8/2/2019
 A                G               Amin_0002667                 Yes           Yes              Yes           No               Amin_0002667               2/15/2020
 C                G               Amin_0002776                 Yes           Yes              Yes           No               Amin_0002778              10/11/2019
 L                G               Amin_0002984                 Yes           Yes              Yes           No               Amin_0002990               2/22/2020
 N                G               Amin_0002003                 Yes           Yes              Yes           No               Amin_0002014               7/12/2019
 S                G               Amin_0001704                 Yes           Yes              No            No               Amin_0001730                4/4/2019
 O                I               Amin_0001351                 Yes           Yes              Yes           No               Amin_0001362               5/23/2019
 K                L               Amin_0008724                 Yes           Yes              Yes           No               Amin_0008729              11/13/2018
 R                L               Amin_0007639                 Yes           Yes              Yes           No               Amin_0007645              11/22/2019

                                                                                              No (Aspiration
 R                M               Amin_0007290                 Yes           Yes              of cysts)      No              Amin_0007294               4/25/2019
 S                M               Amin_0008220                 Unknown       Unknown          Yes            Unknown         Not in File                9/27/2019
 C                M               Amin_0007968                 Yes           Yes              Yes            No              Amin_0007983              10/18/2018
 M                N               Amin_0007879                 Yes           Yes              Yes            No              Amin_0007884               8/16/2019
 S                N               Amin_0007011                 Yes           Yes              No             No              Amin_0007018                3/4/2017
                                                                                                                             Amin_0007828
                                                                                                                             [Next page
                                                                                                                             missing from
                                                                                                                             records; see ICH
 C                P               Amin_0007820                 Yes           Yes              Yes           Yes              records]                   6/26/2020
 E                P               Amin_0008667                 Yes           Yes              Yes           No               Amin_0008670               3/21/2019
                                  Amin_0007070;
 B                P               Amin_0007345                 Yes           Yes              Yes           No               Amin_0007104               7/12/2019
 E                R               Amin_0009757                 Yes           Yes              No            No               Amin_0009768               6/21/2019
 Y                R               Amin_0009670                 Yes           Yes              Yes           No               Amin_0009674               3/13/2020
 A                R               Amin_0010173                 Yes           Yes              No            No               Amin_0010176                1/3/2020
 Y                R               Amin_0008061                 Yes           Yes              Yes           No               Amin_0008063               8/28/2020
 Y                R               Amin_0010749                 Yes           Yes              Yes           Yes              Amin_0010768              12/13/2019
 E                S               Amin_0009295                 Yes           Yes              Yes           No               Amin_0009297                1/3/2020
 M                T               Amin_0010551                 Yes           Yes              Yes           No               Amin_0010554              11/13/2018
 V                V               Amin_0009250                 Yes           Yes              Yes           No               Amin_0009253                9/6/2019
 V                V               Amin_0009535                 Yes           Yes              Yes           No               Amin_0009541               5/15/2020
                                  Amin_0010749 (first page);
 A                V               Amin_0011016                 Yes           Yes              No            No               Amin_0011045              12/13/2019
 F                W               Amin_0008843                 Yes           Yes              Yes           Yes              Amin_0008889               3/21/2019
 D                W               Amin_0009189                 Yes           Yes              No            Yes              Amin_0009244                1/3/2020



CONFIDENTIAL                                                                                                                                       NBCU003855
                        Case 5:21-cv-00056-LGW-BWC Document 124-3 Filed 12/19/23 Page 60 of 136
                                                                     Surgical Procedures


                                                                                                                             Page From Dr.
                                   Dr. Amin Medical Records                                                  Resection of    Amin Records
     First Name       Last Name                                      D&C?      Laparoscopy?   Cystectomy?                                    Date of Procedure
                                   (From Initial Production)                                                Hydrosalpinx?     Evidencing
                                                                                                                                Surgery
 J                W               Amin_0010683                 Yes           Yes              Yes           No              Amin_0010741             12/6/2019
 L                X               Amin_0010934                 Yes           Yes              No            No              Amin_0010968              6/6/2020
 C                Y               Amin_0010229                 Yes           No               No            No              Amin_0010257             3/14/2019




CONFIDENTIAL                                                                                                                                    NBCU003856
                       Case 5:21-cv-00056-LGW-BWC Document 124-3 Filed 12/19/23 Page 61 of 136
                                                            Hysterectomies




                                     Dr. Amin Medical
     First Name       Last Name     Records (From Initial
                                        Production)




                                  Amin_0007070;
 B                P               Amin_0007345
 C                M               Amin_0007968
                                  Amin_0004472;
 K                C               Amin_0005810
 R                F               Amin_0002202
 W                D               Amin_0001846




CONFIDENTIAL                                                                                     NBCU003857
                       Case 5:21-cv-00056-LGW-BWC Document 124-3 Filed 12/19/23 Page 62 of 136
                                                           Other Patients




                               Dr. Amin Medical Records
  First Name       Last Name
                               (From Initial Production)


 A             A               Amin_0005821
 A             R               Amin_0010840
 E             P               Amin_0006031
 G             L               Amin_0008493
 J             H               Amin_0003087
 L             T               Amin_0010363
 J             F               Amin_0001489
 K             G               Amin_0008625
 K             C               Amin_0005031
 K             R               Amin_0022259
 L             W               Amin_0010623
 M             B               Amin_0006713
 M             J               Amin_0006901
 S             M               Amin_0011048
 S             S               Amin_0010408
 T             S               Amin_0011139
 Y             Y               Amin_0009448




CONFIDENTIAL                                                                                     NBCU003858
Case 5:21-cv-00056-LGW-BWC Document 124-3 Filed 12/19/23 Page 63 of 136




                           Exhibit D
Case 5:21-cv-00056-LGW-BWC Document 124-3 Filed 12/19/23 Page 64 of 136
Case 5:21-cv-00056-LGW-BWC Document 124-3 Filed 12/19/23 Page 65 of 136
Case 5:21-cv-00056-LGW-BWC Document 124-3 Filed 12/19/23 Page 66 of 136
Case 5:21-cv-00056-LGW-BWC Document 124-3 Filed 12/19/23 Page 67 of 136
Case 5:21-cv-00056-LGW-BWC Document 124-3 Filed 12/19/23 Page 68 of 136
Case 5:21-cv-00056-LGW-BWC Document 124-3 Filed 12/19/23 Page 69 of 136
Case 5:21-cv-00056-LGW-BWC Document 124-3 Filed 12/19/23 Page 70 of 136
Case 5:21-cv-00056-LGW-BWC Document 124-3 Filed 12/19/23 Page 71 of 136
Case 5:21-cv-00056-LGW-BWC Document 124-3 Filed 12/19/23 Page 72 of 136
Case 5:21-cv-00056-LGW-BWC Document 124-3 Filed 12/19/23 Page 73 of 136
Case 5:21-cv-00056-LGW-BWC Document 124-3 Filed 12/19/23 Page 74 of 136
Case 5:21-cv-00056-LGW-BWC Document 124-3 Filed 12/19/23 Page 75 of 136
Case 5:21-cv-00056-LGW-BWC Document 124-3 Filed 12/19/23 Page 76 of 136
Case 5:21-cv-00056-LGW-BWC Document 124-3 Filed 12/19/23 Page 77 of 136
Case 5:21-cv-00056-LGW-BWC Document 124-3 Filed 12/19/23 Page 78 of 136
Case 5:21-cv-00056-LGW-BWC Document 124-3 Filed 12/19/23 Page 79 of 136
Case 5:21-cv-00056-LGW-BWC Document 124-3 Filed 12/19/23 Page 80 of 136
Case 5:21-cv-00056-LGW-BWC Document 124-3 Filed 12/19/23 Page 81 of 136
Case 5:21-cv-00056-LGW-BWC Document 124-3 Filed 12/19/23 Page 82 of 136
Case 5:21-cv-00056-LGW-BWC Document 124-3 Filed 12/19/23 Page 83 of 136
Case 5:21-cv-00056-LGW-BWC Document 124-3 Filed 12/19/23 Page 84 of 136
Case 5:21-cv-00056-LGW-BWC Document 124-3 Filed 12/19/23 Page 85 of 136
Case 5:21-cv-00056-LGW-BWC Document 124-3 Filed 12/19/23 Page 86 of 136
Case 5:21-cv-00056-LGW-BWC Document 124-3 Filed 12/19/23 Page 87 of 136
Case 5:21-cv-00056-LGW-BWC Document 124-3 Filed 12/19/23 Page 88 of 136
Case 5:21-cv-00056-LGW-BWC Document 124-3 Filed 12/19/23 Page 89 of 136
Case 5:21-cv-00056-LGW-BWC Document 124-3 Filed 12/19/23 Page 90 of 136
Case 5:21-cv-00056-LGW-BWC Document 124-3 Filed 12/19/23 Page 91 of 136
Case 5:21-cv-00056-LGW-BWC Document 124-3 Filed 12/19/23 Page 92 of 136
Case 5:21-cv-00056-LGW-BWC Document 124-3 Filed 12/19/23 Page 93 of 136
Case 5:21-cv-00056-LGW-BWC Document 124-3 Filed 12/19/23 Page 94 of 136
Case 5:21-cv-00056-LGW-BWC Document 124-3 Filed 12/19/23 Page 95 of 136
Case 5:21-cv-00056-LGW-BWC Document 124-3 Filed 12/19/23 Page 96 of 136
Case 5:21-cv-00056-LGW-BWC Document 124-3 Filed 12/19/23 Page 97 of 136
Case 5:21-cv-00056-LGW-BWC Document 124-3 Filed 12/19/23 Page 98 of 136
Case 5:21-cv-00056-LGW-BWC Document 124-3 Filed 12/19/23 Page 99 of 136
Case 5:21-cv-00056-LGW-BWC Document 124-3 Filed 12/19/23 Page 100 of 136
Case 5:21-cv-00056-LGW-BWC Document 124-3 Filed 12/19/23 Page 101 of 136
Case 5:21-cv-00056-LGW-BWC Document 124-3 Filed 12/19/23 Page 102 of 136
Case 5:21-cv-00056-LGW-BWC Document 124-3 Filed 12/19/23 Page 103 of 136
Case 5:21-cv-00056-LGW-BWC Document 124-3 Filed 12/19/23 Page 104 of 136
Case 5:21-cv-00056-LGW-BWC Document 124-3 Filed 12/19/23 Page 105 of 136
Case 5:21-cv-00056-LGW-BWC Document 124-3 Filed 12/19/23 Page 106 of 136
Case 5:21-cv-00056-LGW-BWC Document 124-3 Filed 12/19/23 Page 107 of 136
Case 5:21-cv-00056-LGW-BWC Document 124-3 Filed 12/19/23 Page 108 of 136
Case 5:21-cv-00056-LGW-BWC Document 124-3 Filed 12/19/23 Page 109 of 136
Case 5:21-cv-00056-LGW-BWC Document 124-3 Filed 12/19/23 Page 110 of 136
Case 5:21-cv-00056-LGW-BWC Document 124-3 Filed 12/19/23 Page 111 of 136
Case 5:21-cv-00056-LGW-BWC Document 124-3 Filed 12/19/23 Page 112 of 136
Case 5:21-cv-00056-LGW-BWC Document 124-3 Filed 12/19/23 Page 113 of 136
Case 5:21-cv-00056-LGW-BWC Document 124-3 Filed 12/19/23 Page 114 of 136
Case 5:21-cv-00056-LGW-BWC Document 124-3 Filed 12/19/23 Page 115 of 136
Case 5:21-cv-00056-LGW-BWC Document 124-3 Filed 12/19/23 Page 116 of 136
Case 5:21-cv-00056-LGW-BWC Document 124-3 Filed 12/19/23 Page 117 of 136
Case 5:21-cv-00056-LGW-BWC Document 124-3 Filed 12/19/23 Page 118 of 136
Case 5:21-cv-00056-LGW-BWC Document 124-3 Filed 12/19/23 Page 119 of 136
Case 5:21-cv-00056-LGW-BWC Document 124-3 Filed 12/19/23 Page 120 of 136
Case 5:21-cv-00056-LGW-BWC Document 124-3 Filed 12/19/23 Page 121 of 136
Case 5:21-cv-00056-LGW-BWC Document 124-3 Filed 12/19/23 Page 122 of 136
Case 5:21-cv-00056-LGW-BWC Document 124-3 Filed 12/19/23 Page 123 of 136




                           Exhibit E
Case 5:21-cv-00056-LGW-BWC Document 124-3 Filed 12/19/23 Page 124 of 136
Case 5:21-cv-00056-LGW-BWC Document 124-3 Filed 12/19/23 Page 125 of 136
Case 5:21-cv-00056-LGW-BWC Document 124-3 Filed 12/19/23 Page 126 of 136
Case 5:21-cv-00056-LGW-BWC Document 124-3 Filed 12/19/23 Page 127 of 136
Case 5:21-cv-00056-LGW-BWC Document 124-3 Filed 12/19/23 Page 128 of 136




                           Exhibit F
Case 5:21-cv-00056-LGW-BWC Document 124-3 Filed 12/19/23 Page 129 of 136
Case 5:21-cv-00056-LGW-BWC Document 124-3 Filed 12/19/23 Page 130 of 136
Case 5:21-cv-00056-LGW-BWC Document 124-3 Filed 12/19/23 Page 131 of 136
Case 5:21-cv-00056-LGW-BWC Document 124-3 Filed 12/19/23 Page 132 of 136
Case 5:21-cv-00056-LGW-BWC Document 124-3 Filed 12/19/23 Page 133 of 136
Case 5:21-cv-00056-LGW-BWC Document 124-3 Filed 12/19/23 Page 134 of 136




                           Exhibit G
Case 5:21-cv-00056-LGW-BWC Document 124-3 Filed 12/19/23 Page 135 of 136
Case 5:21-cv-00056-LGW-BWC Document 124-3 Filed 12/19/23 Page 136 of 136
